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                        EOIR Office of Legal Access Programs
            Legal Orientation Program (LOP) for Detained Adults and Legal
                        Orientation Program for Custodians of
                           Unaccompanied Children (LOPC)
                   FY24/FY25 Statement of Work for Option Year 2
                                 (Updated 08/29/2024)
The period of performance for this Task Order is September 1, 2024, to August 31, 2025. Two (2)
additional 12-month option periods may be exercised at the discretion of the Government to extend
performance through July 31, 2027.


      I.      Legal Orientation Program (LOP) for Detained Adults
The Legal Orientation Program (LOP) is provided through the Executive Office for Immigration
Review (EOIR). The purpose of the LOP is to improve the judicial efficiency and effectiveness of
EOIR Immigration Court proceedings and processes by informing and advising detained adult
individuals about immigration court and other immigration adjudication practices, procedures,
general information about options related to relief and protection from removal, and other relevant
resources as soon as possible after entering Department of Homeland Security (DHS) custody.

The Contractor must provide LOP for detained adult individuals (individuals) who are, or may be,
placed in EOIR Immigration Court and/or DHS removal proceedings and are held in DHS custody
at facilities listed in the attached Appendix (covered sites) prior to their initial Master Calendar
Hearing and/or DHS interview or application adjudication. 1

Work at sites not listed in the Appendix or within local travel distance (i.e., fifty (50) miles) from
the covered sites listed in the Appendix, must receive prior written approval from the Contract
Officer’s Representative (COR).

The Government, in consultation with the Contractor, will determine a start service date of not
more than ninety (90) calendar days to begin services at a new covered site. Upon the Contractor’s
request, and with evidence of meaningful attempts to begin services (including remote options), the
COR may extend the timeline established in increments of thirty (30) days. The Government will
determine additional LOP sites as appropriate. Following identification of a new covered site for
services, and in due consideration of the Contractor’s assessment of the viability of an LOP site,
the Government in consultation with the Contractor will determine the appropriate start service
date for any additional site to be identified in the future. After the first extension of thirty (30)
calendar days past the original ninety (90) calendar days, the Government may pursue a separate
contract to start service. In such a scenario, the Contractor will work with any additional contractor
or service provider to deliver services to the extent that this collaboration does not require the
Contractor to share proprietary knowledge.
1
 The Government acknowledges that circumstances exist out of the Contractor’s control that may inhibit Contractor’s
access to the individuals on this timeline. If such circumstances are present, the Contractor will make its best efforts to
provide LOP services to individuals as soon as operationally possible.
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  A. Services.

        1) The Contractor must submit a Program Operation Plan (POP) within twenty-one
           (21) business days from the date the Government issues this Task Order. The COR
           must complete any required review or approval within ten (10) business days from
           the date the Government receives the proposed POP. The POP must include:

                 a) Structure and schedule for providing in-person Group Orientations,
                    Individual Orientations, and Pro Se Workshops, which may include limited
                    remote provision of LOP where the COR determines it is appropriate.
                    Approving the POP with the remote schedule constitutes a COR
                    determination that the remote schedules are appropriate;
                 b) Alternate structure and schedule for remote or hybrid remote/in-person
                    Group Orientations, Individual Orientations, and Pro Se Workshops to
                    ensure the ability to provide services in circumstances where facility
                    access is temporarily limited or restricted;
                 c) Plan for Pro Bono Referrals and Placements; and
                 d) Plan for Friend of the Court Services, where appropriate and feasible.

        2) The Contractor must provide, in writing, the most up to date LOP services schedule
           for all covered sites, which are included in the POPs. The POP schedule must
           include scheduled times for each service at each covered site. The POP schedules
           must be provided to the Government every six (6) months following the start of the
           period of performance. The COR, in consultation with the Contractor, may
           determine alternate timeframes for the periodic updates.

        3) The Contractor must coordinate with the COR and on-site representatives to
           implement the program at the covered sites. “On-site representatives” may include
           officials from DHS, EOIR, local government, contract facility administrators, or
           other individuals deemed necessary by the Contractor or the COR.

                 a) The Contractor must work collaboratively with governmental agencies,
                    government contractors, and other private non-profit agencies and pro
                    bono attorneys who regularly represent or assist individuals in removal
                    proceedings and other immigration processes before EOIR and/or DHS.
                    The Contractor must make all reasonable efforts to maintain positive
                    working relationships with LOP stakeholders. Collaborative work with
                    governmental agencies and other LOP stakeholders may include, in
                    consultation with the COR, participating in meetings, providing
                    information and data in accordance with Section E below, and/or other
                    inquiries related to the LOP. Collaborative work also includes scheduling
                    meetings with relevant governmental agencies and stakeholders where
                    information sharing is necessary for logistical planning and execution. The
                    Contractor must obtain approval from the COR, after consultation with
                    EOIR OGC, before providing reports required under this SOW or sharing

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                     information or data required to be kept confidential under the IDIQ to any
                     person or entity not employed by the Contractor or EOIR, including in
                     response to third-party requests for information or data. The Contractor
                     may provide information to volunteer attorneys and/or legal service
                     organizations as part of pro bono referrals, after receiving written consent
                     from the participant in accordance with the written consent requirements
                     contained in this SOW.

        4) The Contractor must arrange for suitable space in which to provide LOP services at
           the covered site, which may include the EOIR immigration court or other space
           within the detention facility that is appropriate for group presentations and/or private
           discussions. Where a contract detention facility or state or county jail is involved,
           EOIR will make its best effort to facilitate access to a suitable space. Where suitable
           space is unavailable at the covered site due to facility limitations and/or insufficient
           stakeholder cooperation, the Contractor should notify the COR and Contract Officer
           (CO) and seek written approval from the CO to provide in-person or remote LOP
           services at an equivalent site, as approved by the COR and if practicable, as a
           temporary alternate to the covered site. Approval of a POP that contains services at
           an alternate site constitutes the required approval.

        5) The Contractor may, with prior written approval from the COR, provide services via
           telephone or video teleconferencing equipment (VTC) or other equivalent remote
           communication technology. Such remote services will not be approved for more
           than four (4) week intervals unless they are a part of an alternate operations plan in
           an approved POP and to account for circumstances preventing facility access. The
           Government may rescind such approval with two (2) weeks (i.e. fourteen (14)
           calendar days) of notice to the Contractor. To ensure the ability to provide services
           in new and emergent situations (e.g. when services cannot be safely provided in
           person due to communicable disease outbreak), the COR may determine a need for
           services via telephone, live video, or other equivalent remote communication
           technology, and the COR may direct the Contractor to provide such remote services.
           For approved remote services, the Contractor will arrange for use of suitable
           technology available at the covered site which may include, but is not limited to, the
           DTS Pro Bono Platform, telephones, computers, tablets, and Virtual Attorney
           Visitation (VAV) units.

        6) The Contractor must maintain and host a file-share or other electronic repository,
           with approval from EOIR, to allow subcontractors to access all EOIR-approved
           LOP self-help materials, program guidance, program manuals and curricula, and
           other program management documents. The Contractor must ensure compliance
           with Section 508 of the Rehabilitation Act for any new materials created under this
           task order. The contractor will have one hundred eighty (180) days from the start of
           this Task Order to ensure that all program materials created for this program from
           September 1, 2022, onward are updated to comply with Section 508 of the
           Rehabilitation Act. The Contractor will not be required to ensure compliance with
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           Section 508 of the Rehabilitation Act for documents created prior to the start of the
           IDIQ that are made available for review in the file-share. The Contractor must
           ensure the COR and those Government employees the COR identifies can access the
           complete LOP document repository. All materials produced under this Task Order
           for provision to individuals must be approved by the COR prior to use or release,
           except related to legal strategy.
        7) All such materials will be available for Contractor use and distribution one (1)
           business day after EOIR notifies the Contractor of approval by providing the
           mutually agreed upon final version to the Contractor. The Contractor will not
           continue to use or distribute materials after notice from the COR that they are
           invalid for use and distribution.

        8) The Contractor must design and distribute to individuals appropriate and general
           written and/or recorded legal orientation information, self-help materials, and other
           relevant and informative materials and ensure compliance with Section 508 of the
           Rehabilitation Act for any new materials created for this Task Order. The Contractor
           will have one hundred eighty (180) days from the start of this Task Order to ensure
           that legal orientation materials that created for this program from September 1, 2022
           onward are updated to comply with Section 508 of the Rehabilitation Act. The
           Contractor will not be required to ensure compliance with Section 508 of the
           Rehabilitation Act for documents created prior to the start of the IDIQ. Prior to
           creating any materials for general distribution, the Contractor will review existing
           materials to avoid duplicative creation of documents on similar topics and adapt
           proposed materials as needed, unless related to legal strategy. The COR will pre-
           approve the proposed new materials for review within five (5) business days of
           receipt of request from Contractor. When submitting non-English language
           documents to EOIR for approval, the Contractor must include a corresponding
           English version. Additionally, the Contractor must conduct a substantive review of
           any Spanish language documents to ensure that the translation is as close as possible
           to the English language version and has undergone a quality assurance process
           before submitting them to the COR for approval.

        9) The Contractor must maintain a curated library, in consultation with the COR, of
           EOIR-approved LOP written and/or recorded materials on the internet and ensure
           compliance with Section 508 of the Rehabilitation Act.

        10) The Contractor must prepare for services by reviewing any information made
            available to the Contractor from the Government on individuals eligible for services,
            subject to applicable privacy and confidentiality laws and consistent with any
            necessary clearances or background checks.

        11) The Contractor must provide Group Orientations to all available individuals in DHS
            custody at the covered sites prior to their initial Master Calendar Hearing in the
            EOIR Immigration Court and/or initial DHS fear assessment interview (e.g.
            Credible Fear Interview or Reasonable Fear Interview) or application adjudication
                                              4

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                  (e.g. affirmative asylum interview or Asylum Merits Interview). 2 The Group
                  Orientations must include general information about pursuing relief or protection
                  from removal and preparing for an immigration hearing and/or a DHS fear
                  assessment interview or application adjudication, as relevant to the participating
                  individuals receiving LOP. The Contractor presenters will respond to general
                  concerns of individuals in group question-and-answer periods held during the Group
                  Orientations. The Group Orientations must follow the general structure of the Group
                  Orientations as designed by the EOIR LOP Program and contained in the LOP
                  Training Manual. Documentation, including session information and the training
                  manual, are subject to the COR’s review and change.

             12) The Contractor must provide Group Orientations to individuals held in DHS custody
                 in other immigration removal proceedings and processes, including those before the
                 EOIR Board of Immigration Appeals and DHS expedited removal proceedings. The
                 Group Orientations may also be customized to meet the needs of the specific
                 covered site population and participating individuals, and may include information
                 on facility processes (e.g., instructions on LOP communication via tablets,
                 contacting deportation officers, the Office of the Immigration Detention
                 Ombudsman, Immigration and Customs Enforcement (ICE) Detention Reporting
                 and Information Line, using the mail system, ICE Detainee Telephone System Pro
                 Bono Platform, medical requests, etc.) and other information that may assist in
                 orderly and efficient government operations.

             13) The Contractor must provide Individual Orientations to unrepresented 3 individuals
                 in DHS custody, when requested. 4 The Contractor must also verbally notify those
                 receiving Individual Orientations, prior to the start of that Individual Orientation and
                 in a language the individual understands, that the Contractor is not the unrepresented
                 individual’s legal representative. The Individual Orientations are intended to assist
                 individuals in understanding their legal situations. Presenters may respond to
                 specific concerns and/or questions regarding matters of immigration law and
                 procedure and may provide legal advice, within the scope of the LOP, based on the
                 individual’s immigration circumstances. The Contractor may also provide legal
                 advice, and assistance in completing legal documents or forms consistent with EOIR
                 regulations and as authorized by law. In addition, the Contractor must use Individual
                 Orientations to distribute self-help legal materials and identify cases for possible pro
                 bono representation before EOIR and/or DHS.


2
  The Government acknowledges that circumstances exist out of the Contractor’s control that may inhibit the
Contractor’s access to the individuals on this timeline. If such circumstances are present, the Contractor will make its
best efforts to provide LOP to individuals as soon as operationally possible.
3
  Individuals who are represented in only certain matters of their immigration case, such as bond-only representation,
may receive Individual Orientations on subject matters outside the scope of their representation and in accordance with
the LOP presenters’ applicable state ethical rules.
4
  The Government acknowledges that circumstances exist out of the Contractor’s control that may inhibit the
Contractor’s access to individuals and affect the Contractor’s ability to meet this requirement. If such circumstances are
present, the Contractor will make its best efforts to provide LOP to all individuals requesting Individual Orientations.
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             14) The Contractor must ensure that all Contractor presenters are attorneys, Department
                 of Justice Accredited Representatives (DOJ) with full accreditation, or other
                 Contractor staff working under the direct supervision of an attorney or DOJ
                 Accredited Representative with full accreditation, with reasonable exceptions if
                 approved by the COR. All presenters who are attorneys or DOJ Accredited
                 Representatives must be “in good standing.” Direct supervision means that an
                 attorney or DOJ Accredited Representative with full accreditation is present at the
                 site on the day of services to consult with LOP staff or, in the event of emergent
                 circumstances preventing on site presence at the location, is reachable by telephone
                 to consult with LOP staff prior to the completion of LOP services on the day the
                 guidance is requested. However, if the Contractor is providing services via remote
                 technology, direct supervision means that an attorney or DOJ Accredited
                 Representative with full accreditation is available to the LOP staff by telephone
                 within five (5) minutes of LOP staff sending notice of a need for contact.

             15) The Contractor must provide, to the greatest extent possible, Individual Orientations
                 to unrepresented individuals immediately following the Group Orientations and/or
                 prior to the unrepresented individual’s initial Master Calendar Hearing in the
                 immigration court and/or initial DHS fear assessment interview or application
                 adjudication. Prior to subsequent hearings, the Contractor may provide additional
                 LOP services, which may include assistance with forms and applications, and
                 translating documents.

             16) The Contractor must provide Pro Se Workshops in accordance with the POP for
                 unrepresented individuals. 5 The purpose of Pro Se Workshops is to inform and
                 assist small groups of unrepresented individuals in understanding the relevant laws
                 and procedures to be followed in pursuing particular forms of relief or in
                 understanding special procedures in place that may apply to their own legal
                 situation. The presenters may respond to specific concerns/questions of an
                 individual regarding matters of immigration law and procedure and may provide
                 legal advice based on the individual’s immigration circumstances.

             17) The Contractor must conduct LOP services in the individual’s preferred language. If
                 an individual does not understand the language in which the LOP services are
                 conducted, the Contractor must provide interpreters, and/or written or recorded
                 orientation materials in the language understood by the individual.

             18) The Contractor must explain to all individuals receiving LOP services that the
                 presenter is affiliated with the Contractor/Subcontractor organization and that the
                 presenter is not the attorney or representative of the individual(s). For all individual
                 services (not covering Group Orientations and Pro Se Workshops) the presenter
                 shall obtain written acknowledgment from each unrepresented individual that the
5
 Individuals who are represented in only certain matters of their immigration case, such as bond-only representation,
may receive Pro Se Workshops on subject matters outside the scope of their representation and in accordance with the
LOP presenters’ applicable state ethical rules.
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           unrepresented individual stating, in effect, that they (a) understand the presenter is
           not their attorney or representative, and (b) understands that the program cannot
           guarantee pro bono representation in their case. Written acknowledgement can
           include electronic signature. Only one (1) written acknowledgement form is
           required per individual. The Contractor or Subcontractor organization must retain
           records of written acknowledgement from each unrepresented individual according
           to applicable records retention schedules. The Contractor will introduce data entry
           protocols that require all Subcontractor organizations to confirm (via check box)
           that either written acknowledgment has been secured or a waiver for this
           requirement has been received from the COR for all services entered in the
           Contractor database that require written acknowledgement. The Contractor will
           introduce data entry protocols no later than thirty (30) calendar days after the
           beginning of the Task Order. Written acknowledgement records must be disposed
           in accordance with the provisions of the agency record schedules. Services provided
           via the LOP Information Line and remote services are exempt from the written
           acknowledgment requirement. The COR may grant exceptions to the written
           acknowledgement requirement. The COR will deny or approve exceptions to the
           written acknowledgement within three (3) business days.

        19) The Contractor must provide supplemental LOP services in accordance with the
            POP, which may be in the form of:

                 a) Follow-up services, which may consist of subsequent Group Orientations,
                    Individual Orientations, and Pro Se Workshops with individuals who have
                    already received one;
                 b) Friend of the Court services, consistent with EOIR guidance; and/or
                 c) Pro bono referrals.

        20) The Contractor must develop a Pro Bono Referral Plan to promote and facilitate pro
            bono representation for unrepresented individuals. The Contractor must provide
            referrals to available pro bono legal and other relevant non-legal services where
            available. The Contractor should exercise care to avoid the perception that such
            referrals constitute representation. The Government encourages referrals for pro
            bono representation to as many different attorneys as possible, given availability
            constraints. For the Contractor to release information and/or documents collected
            during the performance of services under this Task Order to third parties, including
            for purposes of pro bono referral and placement, the Contractor must obtain written
            consent from each unrepresented individual. Written consent can include electronic
            signatures. The Contractor/Subcontractor organization must retain records of written
            consent from each unrepresented individual according to applicable records
            retention schedules. The Contractor will submit on a quarterly basis a random
            sampling of twenty (20) percent of consent forms for that quarter amounting to no
            more than four hundred (400) consent forms for the contract year. Written consent
            records must be disposed of in accordance with the provisions of the agency records
            schedule. The COR, in consultation with EOIR OGC, may jointly approve
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           exceptions to the written consent requirement on a case-by-case basis. Such requests
           must be legally justified, meaning that they must be supported by a valid legal
           reason, such as compliance with law, urgent and compelling circumstances,
           significant public interest, or practical necessity. The Contractor must submit a
           written request for exceptions, detailing the reasons for the exception, to the COR.
           The COR and EOIR OGC must approve or deny the request within five (5) business
           days. The Contractor must document any verbal consent and retain records in
           accordance with the retention requirements set out in the IDIQ. The consent to
           disclosure of information must meet Privacy Act requirements such as those
           provided in Form EOIR-59, 28 CFR § 16.41(d)-(e), and comply with the
           Immigration and Nationality Act and 8 CFR § 1208.6, where applicable. The COR,
           in consultation with EOIR’s OGC, will approve or propose alternative consent
           language within ten (10) business days if the Contractor decides not to use the Form
           EOIR-59 to obtain written consent.

        21) The Contractor must maintain and continue to develop the Legal Orientation
            Program Manual and provide training and logistical planning and execution for all
            essential participants in the program, including Contractor/Subcontractor staff and
            key management staff. The scope of the training is limited to performing contracted
            program services. All training materials, including agendas and session summaries,
            must be approved in advance by the COR. All trainings must be open to the
            Government, unless otherwise agreed upon between the Government and the
            Contractor. Panels or sessions that include Government speakers must be open to
            the Government. Trainings will be responsive to LOP requests and demonstrated
            needs and may be in the form of an annual conference, a series of on-site training
            programs for small groups, and/or other means such as virtual trainings, individual
            phone consultations, and group conference calls. Training will generally be planned
            and delivered via remote technology. In circumstances in which the Contractor
            believes providing training in person is necessary, the Contractor may request
            approval for an in-person training by submitting a written justification for the COR
            to evaluate in consultation with Government training experts. The COR will
            approve or deny the Contractor’s request within fifteen (15) business days. The
            Government will augment training as necessary to provide relevant instruction on
            practices, procedures, and other information not readily available to non-
            Government officials. For all virtual training, the Contractor must provide access
            to the technology necessary to facilitate participation.

        22) The Contractor must implement and manage one (1) or more national call centers
            providing telephonic and/or live video orientations and provide referrals to in-
            person LOP services, where available and appropriate. This may be through
            telephone, video-teleconferencing equipment, or equivalent multi-way remote
            communication technology. The purpose of the call centers is to provide LOP
            services (including legal advice), modified for remote delivery, where no in-person
            LOP is available or practicable.

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                  a) The Contractor will also distribute to individuals appropriate and
                     informative written materials (e.g., an outline of the topics discussed at the
                     presentation, a list of legal and/or social services in the local community,
                     etc.) by regular mail, e-mail, or other methods of correspondence.
                  b) Prior to the start of operation of each call center, the COR must approve of
                     a POP submitted by the Contractor. The POP must include:

                       i.   Structure and schedule for providing Telephonic Orientations; and
                      ii.   Plan for Pro Bono Referrals and Placements.

         23) The Contractor must report to the COR within five (5) business days from when the
             Contractor becomes aware of any problems that arise related to the performance of
             the specific tasks in this Statement of Work (SOW) and consult with the COR
             regarding resolution of such problems.

         24) The Contractor must coordinate with the COR to conduct visits in-person, where
             resources allow, of each site that the COR and/or the Contractor designates to
             monitor performance and provide feedback regarding services. The Contractor must
             endeavor to send the site visit memorandum draft to the COR within thirty (30)
             business days of the site visit’s completion. The Contractor will finalize the site visit
             memorandum to the COR within fifteen (15) business days of receiving the
             Government’s feedback.

         25) The Contractor must conduct both (1) quarterly individual site check-in calls and (2)
             monthly conference calls with all LOP provider sites and the Government to discuss
             program operations and performance, and additionally at any time when either party
             believes it is necessary. The Government and the Contractor may consult to
             determine instances where written updates from LOP providers can substitute
             monthly conference calls or quarterly LOP provider site calls. The Contractor must
             record written notes memorializing the attendees, announcements, main points, and
             other relevant information shared in the monthly conference calls. The Contractor
             must provide the written notes to the Government within twenty-one (21) calendar
             days from the call.

  B. Invoicing. The Contractor must submit a status report to the Government together with the
     monthly invoice by the 25th calendar day of the following month, provided that if the 25th
     calendar day falls on a weekend or holiday, the Contractor shall submit the report and
     invoice on the following business day. The report must include the labor hours, broken
     down by labor category, upon which the invoice is predicated. The report and invoice must
     not include personally identifiable information (PII). Receipt by the Contractor of the
     Subcontractor’s charges shall, for purposes of this Task Order, be deemed an expense
     incurred by the Contractor, and the Contractor shall be entitled to invoice the Government
     for such expenses.



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  C. Monthly Reports. The Contractor must submit, in conjunction with the corresponding
     monthly invoice, a report to the COR listing the following data points per subcontractor: (i)
     Current invoice month spending; (ii) current approved budget; (iii) prior spending for each
     invoice period since the beginning of the Task Order year; and (iv) applicable budget
     analysis as appropriate to explain invoicing variances.

  D. Quarterly Reports. The Contractor must submit, based on the fiscal year, a quarterly
     program management progress report to the COR providing analysis and listing the
     following services conducted pursuant to this SOW over the past quarter by each site and
     cumulatively since the beginning of the Task Order year, including (i) the number of Group
     Orientations; (ii) the number of Individual Orientations including follow-up services; (iii)
     the number of Pro Se Workshops; (iv) the total number of unique individuals served; (v) the
     number of pro bono referrals made; (vi) the number of pro bono placements made; (vii) the
     number of referrals to non-legal resources made; (viii) the number of individuals served
     through the limited appearance regulation, (ix) the number of individuals served through
     Friend of the Court; and (x) other data as deemed necessary by the Contractor or the COR.
     The data should be broken down by legal service provider and include Key Performance
     Indicators, agreed upon by the Government and Contractor within ninety (90) days of
     issuance of this Task Order. The Quarterly Reports must not include PII.

  E. Data Access. The Government must have full access to data collected for the performance
     of the Task Order, not subject to any privilege or otherwise protected from disclosure under
     the law, and the Contractor shall provide such data to the Government. Information the
     Contractor collects in the performance of services under this SOW, except information
     subject to privilege or otherwise protected from disclosure under the law, is DOJ
     information and is part of an official EOIR record and can be provided to the Government
     without consent from the individual including, but not limited to, information for furthering
     efforts toward pro bono placement. The Government can request ad hoc reports with ten
     (10) business days of notice to the Contractor unless the COR approves an extension. All
     parties shall work in good faith to determine appropriate deadlines based on the nature and
     complexity of the reports, and to coordinate the timing of ad hoc reports with quarterly and
     other required reports.

  F. Legal Advice. The provision of legal advice alone does not require the legal service
     provider to enter an appearance to represent the respondent in proceedings before EOIR
     pursuant to 8 CFR 1003.17.

  G. Travel. Local travel, defined as travel within fifty (50) miles of the applicable primary
     place of performance (e.g., a covered site or subcontractor office) will not be reimbursed
     under this Task Order. Long-distance travel, defined as travel outside of the fifty (50) mile
     radius of the applicable primary place of performance, must receive written approval by the
     COR before any travel expenses are incurred. Travel requests may be sent to the COR on a
     quarterly basis, or as needed. The COR will approve or deny travel requests within five (5)
     business days of the request.


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  H. Noncompliance. In the event the CO or COR finds that the Contractor has failed to comply
     with the purpose of the LOP or any provision of this SOW, the Contractor’s representative
     shall be promptly notified in writing of the nature and scope of the deficiency. Upon such
     notice, the Contractor will have thirty (30) days to respond and/or remedy the deficiency
     before any further action is taken by the CO or COR. The CO or COR will notify the
     Contractor, within seven (7) days of any response or attempt to remedy, as to whether the
     Contractor is still found to be out of compliance with this SOW.

  I. Termination. The Government may cancel this task order or the provision of LOP services
     at a particular site covered by this task order for cause or for the Government’s convenience
     by providing advance written notice to the Contractor.

  J. Limitations. Nothing in this task order is intended to restrict performance under any other
     task order or other contract vehicle the Department of Justice issues.


  II.     Legal Orientation Program for Custodians of Unaccompanied
          Children (LOPC)
The William Wilberforce Trafficking Victims Protection Reauthorization Act of 2008 (Pub. L.
110-457) tasks the Executive Office for Immigration Review with ensuring that the adult
caregivers of unaccompanied children receive legal orientations. To carry out this statutory
mandate, EOIR’s Office of Legal Access Programs operates the Legal Orientation Program for
Custodians of Unaccompanied Children (LOPC). Under the LOPC, the Contractor must provide
legal orientations to the custodians of unaccompanied children (hereinafter “unaccompanied
children” or “children” or “child”). “Custodians” are individuals who have or are seeking
custody of one or more child(ren) who are currently or were formerly in the care of the Office
of Refugee Resettlement, Department of Health and Human Services (ORR-HHS). The purpose
of the LOPC is to address the custodians’ responsibilities to attempt to ensure the child’s
appearance at all immigration court hearings, and to protect the child from mistreatment,
exploitation, and trafficking.

The Contractor will provide services under this Task Order in the LOPC sites located in the
attached Appendix. The Government, in consultation with the Contractor, will determine a start
service date of not more than ninety (90) calendar days to begin services at a new covered site.
Upon the Contractor’s request, and with evidence of meaningful attempts to begin services
(including remote options), the Contractor Officer Representative (COR) may extend the
timeline established in increments of thirty (30) calendar days. The Government will determine
additional LOPC sites as appropriate. Following identification of a new site for services, and in
due consideration of the Contractor’s assessment of the viability of an LOPC site, the
Government, in consultation with the Contractor, will determine the appropriate start service
date. After the first extension of thirty (30) calendar days past the original ninety (90) calendar
days, the Government may pursue a separate contract to start services. In such a scenario, the
Contractor will work with any additional contractor or service providers to deliver services to
the extent that this collaboration does not require the Contractor to share proprietary
knowledge.

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The Contractor will also run an LOPC Call Center in two locations: National Call Center in
New York City, NY and West Coast Call Center in Los Angeles, CA, which will be available
to receive phone inquiries from custodians of children and ORR caseworkers. The Call
Centers will schedule appointments for LOPC services at provider locations around the
country and provide telephonic and/or video orientations for custodians.
A. Services.

       1) The Contractor must submit a Program Operation Plan (POP) within twenty-
          one (21) business days of the start of this Task Order. The COR must complete
          any required review or approval within ten (10) business days of receipt of the
          proposed POP. The POP must include:

          a) Structure, schedule, and projected range per quarter of Group and
             Individual Orientation presentations, as well as telephonic and video
             orientations, where appropriate;
          b) Structure and schedule of any supplemental LOPC services;
          c) Pro Bono Referral and Placement Plan; and
          d) Plan for Friend of the Court (FOTC) services, where appropriate and
             feasible.

       2) The Contractor must provide, in writing, the most up-to-date LOPC services
          schedule for all covered sites, which are included in the POPs. The POP
          schedule must include scheduled times for each service at each covered site.
          The POP schedules must be provided to the Government every six months
          following the start of the period of performance. The COR, in consultation with
          the Contractor, may determine an alternate timeframe for the periodic updates.

       3) The Contractor must coordinate with the COR and on-site representatives to
          implement the program at the designated sites. “On-site representatives” may
          include officials from EOIR, HHS, or other individuals deemed necessary by
          the Contractor or the COR. This includes the scheduling of legal orientation
          presentations (“orientations”), the use of any HHS-contracted facilities, and the
          exchange of information on custodians and children. The Contractor must work
          collaboratively with governmental agencies, government contractors, and other
          private non-profit agencies and pro bono attorneys who regularly represent
          respondents in removal proceedings and other immigration processes before
          EOIR and/or DHS. The Contractor must make all reasonable efforts to maintain
          positive working relationships with LOPC stakeholders, including on-site
          representatives. Collaborative work with governmental agencies and other
          LOPC stakeholders may include, in consultation with the COR, participating in
          meetings, responding to information and data requests in accordance with
          Section E below, and responding to other inquiries related to the LOPC. The
          Contactor must obtain approval from the COR, after consultation with EOIR
          Office of General Counsel (OGC), before providing reports required under this
          SOW or sharing information or data required to be kept confidential under the
          IDIQ to any person or entity not employed by the Contractor or EOIR,
          including in response to third-party requests for information or data. The
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         Contractor may provide information to volunteer attorneys and/or legal service
         organizations as part of pro bono referrals, after receiving written consent from
         the participant in accordance with the written consent requirements contained in
         this SOW.

      4) The Contractor must design and use or distribute to custodians appropriate written
         and/or recorded legal information, self-help guides, and other relevant and informative
         materials, and must ensure compliance with Section 508 of the Rehabilitation Act for
         any new materials created for the Task Order. The Contractor will have one hundred
         eighty (180) days from the start of this Task Order to ensure that legal orientation
         materials created for this program from September 1, 2022, onward are updated to
         comply with Section 508 of the Rehabilitation Act. The Contractor will not be required
         to ensure compliance with Section 508 of the Rehabilitation Act for documents created
         prior to the start of the IDIQ. Prior to creating any materials for general distribution,
         the Contractor will review existing materials to avoid duplicative creation of
         documents on similar topics and adapt proposed materials, as needed, unless related to
         legal strategy. The COR will respond to the Contractor’s requests for creation of
         materials for general distribution withing five (5) business days. When submitting
         non-English language documents to EOIR for approval, the Contractor must include a
         corresponding English version. Additionally, the Contractor must conduct substantive
         review of Spanish language documents to ensure that the translation is as close as
         possible to the English language version and has undergone a quality assurance
         process before submitting them to the COR for approval.

      5) The Contractor must maintain and host a file-share or other electronic repository,
         with approval from EOIR, to allow subcontractors to access all EOIR-approved
         LOPC self-help materials, program guidance, program manuals and curricula, and
         other program management documents. The Contractor must ensure that this
         platform is in compliance with Section 508 of the Rehabilitation Act for any new
         materials created under this Task Order. The Contractor will have one hundred
         eighty (180) calendar days from the start of this Task Order to ensure that all
         program materials created for this program from 9/01/2022 onward are updated to
         comply with Section 508 of the Rehabilitation Act. The Contractor will not be
         required to ensure compliance with Section 508 of the Rehabilitation Act for
         documents created prior to the start of the IDIQ that are made available for review
         in the file-share. The Contractor must ensure the COR and those Government
         employees the COR identifies can access the complete LOPC document repository.
         All materials produced under this Task Order for provision to individuals must be
         approved by the COR prior to use or release, except related to legal strategy. All
         such materials will be available for the Contractor’s use and distribution one (1)
         business day after EOIR notifies the Contractor of approval by providing the
         mutually agreed upon final version to the Contractor. The Contractor will not
         continue to use or distribute materials after notice from the COR that they are
         invalid for use and distribution.

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      6) As directed by the COR, the Contractor must distribute EOIR-produced materials to
         service recipients and coordinate with employees associated with the courts and any
         off-site locations to make available such materials as the COR directs.

      7) The Contractor must arrange for suitable space to provide LOPC services, which
         may include space within the Contractor’s offices, the HHS-contracted children’s
         shelter, the HHS-contracted fingerprinting location, the EOIR immigration courts,
         or other spaces that are appropriate for group presentations and/or private
         discussions. The Government will make its best effort to facilitate access to a
         suitable Government-controlled space with sufficient times to conduct LOPC
         services. Other locations may be approved by the COR in advance. Approval of a
         POP that contains services at an alternate site constitutes the required approval. In
         addition, the Contractor may provide services via telephone, video-conferencing, or
         other multi-way remote communication technology.

      8) The Contractor must review in advance information made available to the
         Contractor from the Government on the children and their respective custodians in
         order to make necessary preparations for the orientations, subject to applicable
         privacy and confidentiality laws and consistent with any necessary clearances or
         background checks.

      9) The Contractor must provide Group and/or Individual Orientations to custodians at
         the designated sites as specified in each site’s POP, regardless of the representation
         status of the child. Orientations must be provided in person, by phone, and/or via
         live video. Orientations must review the range of rights available to the child, as
         well as the responsibilities of the child and their respective custodians throughout
         the immigration adjudication process, including appearance at all immigration court
         hearings. Orientations must also review the applicable laws and programs intended
         to protect the child from mistreatment, exploitation, and trafficking, and inform the
         custodians of available resources to assist the child in this respect.

      10) The Contractor must provide Group Orientations at the designated sites to
          custodians. The Group Orientations must include general information about
          pursuing relief or protection from removal, preparing for an immigration hearing or
          interview, and obtaining information on protecting the child from mistreatment,
          exploitation, and trafficking. The Group Orientations must follow the general
          structure of orientations as designed by EOIR for the LOPC and contained in the
          LOPC Manual. Documentation, including orientation information and the training
          manual, are subject to the COR’s review and change. The Contractor’s presenters
          will respond to general concerns of program participants in group question-and-
          answer periods held during the Group Orientations.

      11) The Contractor must provide Individual Orientations for the purpose of:


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         a) identifying children who have been subjected to mistreatment, exploitation, and
            trafficking;
         b) identifying children’s cases for possible pro bono representation;
         c) determining custodian’s or child’s eligibility to attend Pro Se Workshops;
         d) making appropriate non-legal referrals to local social services; and
         e) distributing appropriate self-help legal materials.

         Individual Orientations are intended to assist custodians and the children in their
         care in understanding the court process and the legal options available to them.
         Orientations (as well as Pro Se Workshops) may include information, where
         applicable, about assisting interested children in pursuing legal relief or protection
         from removal (including voluntary departure), preparing for an immigration hearing
         or asylum interview, and obtaining more information on protecting the child from
         mistreatment, exploitation, and trafficking. Presenters may respond to specific
         concerns/questions regarding immigration law and procedure and may provide
         legal advice based on the child’s immigration circumstances. The Contractor may
         also provide assistance in completing legal documents or forms consistent with
         EOIR regulations and as authorized by law. Prior to the start of the Individual
         Orientation or presentation, presenters should verbally notify those receiving the
         information and/or legal advice that they are not the custodian’s nor the child’s
         legal representative.

      12) The Contractor presenters must be attorneys, DOJ Accredited Representatives with
          full accreditation, or other Contractor staff working under the direct supervision of
          an attorney or DOJ Accredited Representative with full accreditation, with
          reasonable exceptions if approved by the COR. All presenters who are attorneys or
          DOJ Accredited Representatives must be in “in good standing.” Direct supervision
          means that an attorney or Accredited Representative with full accreditation is
          available to the LOPC staff by telephone within five minutes of LOPC staff sending
          notice of a need for contact. If the Contractor is providing services via remote
          technology, direct supervision means that an attorney or DOJ Accredited
          Representative with full accreditation is available to the LOPC staff by telephone
          within five minutes of notice of a need for contact.

      13) In exceptional circumstances, such as in cases of suspicion of mistreatment,
          exploitation, and trafficking, LOPC services may be provided to unaccompanied
          children outside the presence of the custodian. In such cases, the Contractor staff
          meeting individually with a child under the age of eighteen (18) must have passed
          the required background check approved by EOIR Office of Security. Only when
          an emergency situation exists may Contractor staff without the required background
          check temporarily meet with the child individually; however, this meeting must
          occur with the presence of, or in the line of sight of, another staff member who does
          have the required background check. The Contractor must also comply with any
          mandatory reporting requirements in accordance with federal, state, and local laws
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         and immediately notify the COR.

      14) The Contractor must conduct LOPC services in the custodian’s preferred language.
          If a custodian does not understand the language in which the LOPC service is
          conducted, the Contractor must provide interpreters and/or written or recorded
          orientation materials in the custodian’s preferred language.

      15) The Contractor must state at the beginning of each orientation that the presenter is
          affiliated with the Contractor/Subcontractor organization. The presenters must state
          that they are not the attorney or representative of the custodian or child. For all
          presentations other than Group Orientations and Pro Se Workshops in which a
          specific script is followed, the presenter must also obtain acknowledgment from
          each custodian that the custodian (a) understands the presenter is not the attorney or
          representative of the custodian or the child, (b) understands that the program cannot
          guarantee pro bono representation in the child’s case. Written acknowledgement
          can include electronic signatures. Only one written acknowledgment form is
          required per custodian. The Contractor or Subcontractor organization must retain
          records of written acknowledgment from each custodian according to applicable
          records retention schedules. The Contractor will introduce data entry protocols by
          the start of the Q2 reporting period (January 2025) that require all Subcontractor
          organizations to confirm (via check box) that either written acknowledgment has
          been secured or a waiver of this requirement has been received from the COR for
          all services entered in the Contractor database that require written acknowledgment.
          Written acknowledgment records must be disposed of in accordance with the
          provisions of the agency record schedule. All services provided via remote
          technology and all services provided by the LOPC Call Centers are exempt from
          the written acknowledgment requirement. The COR may grant exceptions to the
          written acknowledgment requirement. The COR will deny or approve exceptions to
          the written acknowledgment within three (3) business days of the request.

      16) The Contractor must distribute to custodians appropriate and informative written
          materials (e.g., an outline of the topics discussed at the presentation, a list of legal
          and/or social services in the local community, directions to the local immigration
          court, etc.), as well as make available any relevant recorded materials, subject to
          materials development, use, and distribution requirements above, by regular mail,
          e-mail, or other methods of correspondence. All such materials intended for general
          distribution or that are distributed to custodians of children under this agreement
          must be approved by the COR or COR designee prior to distribution.

      17) The Contractor must provide supplemental LOPC services in accordance with the
          POP, which may be in the form of follow-up services and additional LOPC
          services, including Pro Se Workshops, legal screenings with the child, FOTC
          services, or pro bono referrals. During the pendency of childcare background
          checks required at the commencement of the Contract, the Contractor will not be
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         required to complete legal screenings outside the presence of a custodian with any
         child under the age of eighteen (18). At the COR’s direction or with the COR’s
         approval, the Contractor must develop written materials to assist custodians and
         their respective children with the most common types of supplemental LOPC
         services. The COR must approve all materials before use.

      18) The Contractor must develop a Pro Bono Referral Plan to promote and facilitate pro
          bono representation for children who are released to custodians. The Contractor
          must provide referrals to available pro bono legal and other relevant non-legal
          services where available. This may include referrals to such services within the
          Contractor/Subcontractor organization. The Contractor should exercise care to
          avoid the perception that such referrals constitute representation. The Government
          encourages referrals for pro bono representation to as many different attorneys as
          possible, given availability constraints. This plan must be developed in consultation
          with the COR and included in the POP. In order for the Contractor to release the
          children’s information to any third party, information and/or documents collected
          during the performance of services under this Task Order, including for purposes of
          pro bono referral and placement, written consent must be obtained from the
          custodian. Written consent can include electronic signatures. The
          Contractor/Subcontractor organization must retain records of written consent from
          each custodian according to applicable records retention schedules. The Contractor
          will submit on quarterly basis a random sampling of twenty (20) percent of consent
          forms for that quarter, amounting to no more than 400 consent forms for the
          contract year. Written consent records must be disposed of in accordance with the
          provisions of the agency records schedule. The COR, in consultation with EOIR
          OGC, may jointly approve exceptions to the written consent requirement on a case-
          by-case basis. Such requests must be legally justified, meaning that they must be
          supported by a valid legal reason, such as compliance with law, urgent and
          compelling circumstances, significant public interest, or practical necessity. The
          Contractor must submit a written request for exceptions, detailing the reasons for
          the exception, to the COR. The COR and EOIR OGC must approve or deny the
          request within five (5) business days. The Contractor must document any verbal
          consent and retain records in accordance with the retention requirements set out in
          the IDIQ. The consent to disclosure of information must meet Privacy Act
          requirements such as those provided in Form EOIR-59, 28 CFR § 16.41(d)-(e), and
          comply with the Immigration and Nationality Act and 8 CFR 1208.6, where
          applicable. The COR, in consultation with EOIR OGC, will approve or propose
          alternative consent language within ten (10) business days if the Contractor decides
          not to use the Form EOIR-59 to obtain written consent.

      19) The Contractor must implement and manage an LOPC Call Center in two locations:
          National Call Center in New York City, NY and West Coast Call Center in Los
          Angeles, CA to receive phone inquiries from custodians of children and ORR
          caseworkers. The Call Centers will schedule appointments for LOPC services at
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         provider locations around the country and provide orientations and other services as
         needed for custodians. This may be through telephone, video-teleconferencing
         equipment, or equivalent multi-way remote communication technology. The parties
         will agree on performance metrics for Call Center services, such as the minimum
         number of custodians served or the frequency with which services will be provided.
         The Contractor will also distribute through the Call Centers appropriate and
         informative written materials (e.g., an outline of the topics discussed at the
         presentation or a list of legal and/or social services in the local community), subject
         to materials development, use, and distribution requirements above, by regular
         mail, e-mail, or other methods of correspondence.

      20) The Contractor must implement and manage one or more national systems to
          facilitate scheduling of appointments for orientations held at all LOPC sites, in
          accordance with the plan outlined in Contractor's proposal and the IT Security
          Compliance Plan submitted to the Government subject to any modifications
          approved by the Government. This may be through an internet-based scheduling
          system, toll-free telephone number, and/or other technology. The Government must
          have full access to data collected for the performance of any scheduling system
          under the Task Order, not subject to any privilege or otherwise protected from
          disclosure under the law, and the Contractor must provide such data to the
          Government. Any such systems, applications, and platforms are subject to all
          security and legal requirements as they apply to the Government (e.g., information
          technology; Privacy Act of 1974; Paperwork Reduction Act; and any and all
          relevant federal laws and regulations). The COR or CO will review, in consultation
          with EOIR-OIT-Security and EOIR-OGC-Privacy, and the Contractor must obtain
          approval to proceed prior to the purchase of and/or implementation of any such
          systems, applications, and platforms.

      21) The Contractor must maintain and continue to develop the Legal Orientation
          Program for Custodians Manual and provide training and logistical planning and
          execution for all essential participants in the program, including
          Contractor/Subcontractor staff and key management staff. The scope of the training
          is limited to performing contracted program services. All training materials,
          including agendas and session summaries, must be approved by the COR in
          advance of the training. All trainings must be open to the Government, unless
          otherwise agreed upon by the Government and the Contractor. Panels or sessions
          that include Government speakers must be open to the Government. Trainings will
          be responsive to LOPC requests and demonstrated needs and may be in the form of
          an annual conference, a series of on-site training programs for small groups, and/or
          other means such as virtual trainings, individual phone consultations, and group
          conference calls. Training will generally be planned and delivered via remote
          technology. In circumstances in which the Contractor believes providing training in
          person is necessary, the Contractor may request approval for an in-person training
          by submitting a written justification for the COR to evaluate in consultation with
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          Government training experts. The COR will approve or deny the Contractor’s
          request within fifteen (15) business days. The Government will augment training as
          necessary, at no cost to the Contractor, to provide relevant instruction on practices,
          procedures, and other information not readily available to non-Government
          officials. The Contractor will be responsible for logistics, to include facilitating
          training space and any Contractor/Subcontractor travel. For all virtual training, the
          Contractor must provide access to the technology necessary to facilitate
          participation.

      22) The Contractor must provide training to HHS-contracted caseworkers and field
          coordinators, as well as training to HHS-contracted fingerprinting providers and
          government representatives as determined by the COR. The training for the HHS-
          contracted caseworkers and field coordinators must include the following: the
          elements of the LOPC; where the LOPC is currently available; and how to make
          referrals to LOPC providers.

      23) The Contractor must report to the COR within five (5) business days from when the
          Contractor becomes aware of any problems that arise related to the performance of
          the specific tasks in this SOW and consult with the COR regarding resolution of
          such problems.

      24) The Contractor must coordinate with the COR to conduct visits in-person, where
          resources allow, of each site that the COR and/or the Contractor designates to monitor
          performance and provide feedback regarding services. The Contractor must endeavor
          to send the site visit memorandum draft to the COR within thirty (30) business days of
          the site visit ’s completion. The Contractor will finalize the site visit memorandum to
          the COR within fifteen (15) business days of receiving the Government’s feedback.

      25) The Contractor must conduct both (1) quarterly individual site check-in calls and
          (2) monthly conference calls with all LOPC provider sites and the Government to
          discuss program operations and performance, and additionally at any time when
          either party believes it is necessary. The Government and the Contractor may
          consult to determine instances where written updates from LOPC providers may
          substitute monthly conference calls or individual site check-in calls. The Contractor
          must record written notes memorializing the attendees, announcements, main
          points, and other relevant information shared in the monthly conference calls. The
          Contractor must provide written notes to the Government and all Subcontractors
          within twenty-one (21) calendar days from the call.

B. Invoicing. The Contractor must submit a status report to the Government together withthe
   monthly invoice by the 25th calendar day of the following month, provided that if the 25th
   calendar day falls on a weekend or holiday, the Contractor must submit the report and invoice
   on the following business day. The report must include the labor hours, broken down by labor
   category and activity type, upon which the invoice is predicated. The report and invoice must
   not include personally identifiable information (PII). Receipt by the Contractor of the
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   Subcontractor’s charges shall, for purposes of this Task Order, be deemed an expense
   incurred by the Contractor, and the Contractor shall be entitled to invoice the Government for
   such expenses.

C. Monthly Reports. The Contractor must submit, in conjunction with the corresponding
   monthly invoice, a report to the COR listing the following data points per subcontractor: (i)
   Current invoice month spending; (ii) current approved budget; (iii) prior spending for each
   invoice period since the beginning of the Task Order year; and (iv) applicable budget analysis
   as appropriate to explain invoicing variances.

D. Quarterly Reports. The Contractor must submit, based on the fiscal year, a quarterly
   program management progress report to the COR providing analysis and listing the following
   services conducted over the past quarter by each site and cumulatively since the beginning of
   the Task Order year, including (i) the number of Group Orientations; (ii) the number of
   Individual Orientations, including follow-up services; (iii) the number of Pro Se Workshops;
   (iv) the number of custodians served (by attending a Group Orientation, Individual
   Orientation, follow-up services, and Pro Se Workshops); (v) the number of pro bono referrals
   made; (vi) the number of pro bono placements made; (vii) the number of referrals to non-
   legal resources made; (viii) the number of custodians receiving assistance with Pro Se Forms
   EOIR-33 Change of Address and Motions to Change Venue; (ix) the number of incoming
   calls and contacts received by the LOPC Call Centers; (x) the number of children served
   through limited appearance regulation; (xi) the number of children served through FOTC;
   (xii) the number of custodians served pre-reunification v. post-reunification; (xxiii) the
   number of services that were conducted as a result of referrals made by ORR case managers
   or other ORR staff; and (xiv) other data as deemed necessary by the Contractor or the COR.
   The data should be broken down by legal service provider and include Key Performance
   Indicators, agreed upon by the Government and Contractor within ninety (90) calendar days
   of issuance of this Task Order. The Contractor will have until Q2 to begin reporting on newly
   added metrics (xii and xiii). The Quarterly Reports must not include PII.

E. Data Access. The Government shall have full access to data collected for the performance of
   the Task Order, not subject to any privilege or otherwise protected from disclosure under the
   law, and the Contractor shall provide such data to the Government. Information the
   Contractor collects in the performance of services under this SOW, except information
   subject to privilege or otherwise protected from disclosure under the law, is DOJ information
   and is part of an official EOIR record that can be provided to the Government without
   consent from the individual including, but not limited to, information for furthering efforts
   toward pro bono placement. The Government can request ad hoc reports with ten (10)
   business days of notice to the Contractor unless the COR approves an extension. All parties
   shall work in good faith to determine appropriate deadlines based on the nature and
   complexity of the reports, and to coordinate the timing of ad hoc reports with quarterly and
   other required reports.

F. Legal Advice. The provision of legal advice alone to an unrepresented individual does not
   require the legal service provider to enter an appearance to represent the respondent in
   proceedings before EOIR pursuant to 8 CFR 1003.17.

G. Travel. Local travel, defined as travel within fifty (50) miles of the applicable primary place
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   of performance will not be reimbursed under this Task Order. Long-distance travel, defined
   as travel outside of the fifty (50) mile radius of the applicable primary place of performance,
   must receive written approval by the COR before any travel expenses are incurred. Travel
   requests may be sent to the COR on a quarterly basis, or as needed. The COR will approve or
   deny travel requests within five (5) business days of the request.

H. Noncompliance. In the event the Contracting Officer or COR finds that the Contractor has
   failed to comply with any provision of this Statement of Work, the Contractor’s
   representative shall be promptly notified in writing of the nature and scope of the deficiency.
   Upon such notice, the Contractor will have thirty (30) calendar days to respond and/or
   remedy the deficiency before any further action is taken by the Contracting Officer or COR.
   The Contracting Officer or COR will notify the Contractor, within seven (7) calendar days of
   any response or attempt to remedy, as to whether theContractor is still found to be out of
   compliance with this Statement of Work.

I. Termination. The Government may cancel this Task Order or the provision of LOPC
   services at a particular site covered by this Task Order for cause or for the Government’s
   convenience by providing advance written notice to the Contractor.

J. Limitations. Nothing in this Task Order is intended to restrict performance under any other
   Task Order orother contract vehicle the Department of Justice issues.


                      *****END OF STATEMENT OF WORK*****




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              Appendix: Program Sites for the Legal Orientation Program (LOP)


                                                -
                         FY24/FY25 Appendix for Option Year 2
                                 (Updated 08/29/2024)

Per the Statement of Work, the Government requires service at the below-named covered sites.
With due consideration of the Contractor’s assessment of viability of programming at an existing
or potential new covered site—to include remote services as necessary—this list is subject to
additions and deletions.

   1) Adams County Correctional Center, Natchez, Mississippi
   2) Adelanto ICE Processing Center, Adelanto, California (including Desert View Annex)
   3) Broward Transitional Center, Pompano Beach, Florida
   4) Caroline Detention Facility, Bowling Green, Virginia
   5) Central Arizona Florence Correctional Complex, Florence, Arizona
   6) Central Louisiana ICE Processing Center, Jena, Louisiana
   7) Clinton County Correctional Facility, McElhattan, Pennsylvania
   8) Denver Contract Detention Facility, Aurora, Colorado
   9) El Paso Service Processing Center, El Paso, Texas
   10) El Valle Detention Facility, Raymondville, Texas
   11) Eloy Detention Center, Eloy, Arizona
   12) Florence Service Processing Center, Florence, Arizona
   13) Folkston ICE Processing Center, Folkston, Georgia
   14) Houston Contract Detention Facility, Houston, Texas
   15) IAH Secure Adult Detention Facility (“Polk”), Livingston, Texas
   16) Immigration Centers of America - Farmville, Farmville, Virginia
   17) Imperial Regional Detention Facility, Calexico, California
   18) Jackson Parish Correctional Center, Jonesboro, Louisiana
   19) Joe Corley Detention Facility, Conroe, Texas
   20) Karnes County Residential Center, Karnes City, Texas
   21) Krome Service Processing Center, Miami, Florida
   22) Montgomery Processing Center, Conroe, Texas
   23) Moshannon Valley Correctional Center, Philipsburg, Pennsylvania
   24) Northwest Detention Center, Tacoma, Washington
   25) Otay Mesa Detention Center, San Diego, California
   26) Otero County Processing Center, Chaparral, New Mexico
   27) Pine Prairie ICE Processing Center, Pine Prairie, Louisiana
   28) Port Isabel Service Processing Center, Los Fresnos, Texas
   29) Prairieland Detention Center, Alvarado, Texas
   30) Richwood Correctional Center, Richwood, Louisiana
   31) South Louisiana ICE Processing Center, Basile, Louisiana
   32) South Texas ICE Processing Center, Pearsall, Texas
   33) Stewart Detention Center, Lumpkin, Georgia
   34) T. Don Hutto Residential Center, Taylor, Texas
   35) Winn Correctional Center, Winnfield, Louisiana


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     Appendix: Program Sites for the Legal Orientation Program for Custodians of
                        Unaccompanied Children (LOPC)
                     FY24/FY25 Appendix for Option Year 2
                                (Updated 08/29/2024)


  1) Atlanta, Georgia
  2) Baltimore, Maryland
  3) Boston, Massachusetts
  4) Charlotte, North Carolina
  5) Dallas, Texas
  6) Harlingen, Texas
  7) Houston, Texas
  8) Long Island, New York
  9) Los Angeles, California
  10) Memphis, Tennessee
  11) Miami, Florida
  12) New York, New York
  13) Newark, New Jersey
  14) San Francisco, California
  15) Washington, DC
  16) LOPC National Call Center (New York, NY)
  17) West Coast Call Center (Los Angeles, CA)




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                         EOIR Office of Legal Access Programs
                          Immigration Court Helpdesk (ICH)
                            FY24/FY25 Statement of Work
                                (Updated 08/30/2024)
The Immigration Court Helpdesk (ICH) Program is offered through the Executive Office for
Immigration Review (EOIR). The purpose of the ICH Program is to improve the efficiency and
effectiveness of EOIR Immigration Court proceedings by informing and advising individuals in
proceedings before an Immigration Judge of court practices, procedures, and general information
about options related to relief and protection from removal, and other relevant resources. The
Contractor will operate Immigration Court Helpdesks to serve noncitizens who are or may be
scheduled for non-detained hearings at the EOIR Immigration Court locations listed in the
Appendix to serve individuals who have received a Notice to Appear or other charging document
from the Department of Homeland Security. The government may designate additional groups
for services in collaboration with Contractor.

The Government, in consultation with the Contractor, will determine a start service date of not
more than ninety (90) calendar days to begin services at a new covered site. Upon the
Contractor’s request, and with evidence of meaningful attempts to begin services (including
remote options), the Contracting Officer Representative (COR) may extend the timeline
established in increments of thirty (30) calendar days, not to exceed two extensions. The
Government will determine additional ICH sites as appropriate. Following identification of a
new site for services, and in due consideration of the Contractor’s assessment of the viability of
an ICH site, the Government in consultation with the Contractor will determine the appropriate
start service date. After the first extension of thirty (30) calendar days past the original ninety
(90) calendar days, the Government may pursue a separate contract to start service. In such a
scenario, the Contractor will work with any additional contractor or service provider to deliver
services to the extent that this collaboration does not require the Contractor to share proprietary
knowledge.

The period of performance for this task order is September 1, 2024, to August 31, 2025. Two (2)
additional 12-month option periods may be exercised at the discretion of the Government to extend
performance through August 31, 2027.

A. Services.

   1) The Contractor must submit a Program Operation Plan (POP) within twenty-one (21)
      business days from the date the Government issues this task order. The COR shall
      complete any required review or approval within ten (10) business days from the date the
      Government receives the proposed POP. The POP must include:

               a. Structure and schedule of Group Information Sessions and Individual
                  Information Sessions, including any remote services, where the COR
                  determines it is appropriate;
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              b. Structure and schedule of additional Group Information Sessions, follow-up
                 Individual Information Sessions, and Self-Help Workshops;
              c. Plan for Friend of the Court (FOTC) services; and
              d. Plan for Pro Bono Referrals and Placements.

   2) The Contractor must provide to the Government, in writing, the most up-to-date ICH
      services schedule for all covered sites, which are included in the POPs. The POP
      schedule must include scheduled times for each service at each covered site. Such POP
      schedules must be provided to the Government every six months following the start of
      the period of performance. The COR, in consultation with the Contractor, may determine
      alternate timeframes for the periodic updates.

   3) The Contractor must coordinate with the COR and on-site representatives to implement
      the ICH at the designated sites. “On-site representatives” may include officials from
      EOIR, the Department of Homeland Security, or other individuals deemed necessary by
      the Contractor or the COR. Work collaboratively with governmental agencies,
      government contractors, private non-profit agencies, and pro bono attorneys who
      represent individuals in removal proceedings and other immigration processes before
      EOIR and/or DHS. The Contractor must make all reasonable efforts to maintain positive
      working relationships with ICH stakeholders, including on-site representatives.
      Collaborative work with governmental agencies and other ICH stakeholders may include,
      in consultation with the COR, participating in meetings, providing information and data
      in accordance with Section E below, and responding to other inquiries related to the ICH.
      Collaborative work also includes scheduling meetings with relevant governmental
      agencies and stakeholders where information sharing is necessary for logistical planning
      and execution. The Contractor must obtain approval from the COR, after consultation
      with EOIR OGC, before providing reports required under this SOW or sharing
      information or data required to be kept confidential to any person or entity not employed
      by the Contractor or EOIR, including in response to third-party requests for information
      or data. The Contractor may provide information to volunteer attorneys and/or legal
      service organizations as part of pro bono referrals, after receiving written consent from
      the participant in accordance with the written consent requirements contained in this
      SOW.

   4) The Contractor must arrange suitable space to provide ICH services, which may include
      the EOIR Immigration Court Pro Bono Room or other space within the Immigration
      Court that is appropriate for group presentations and/or private discussions. The
      Government will make its best effort to facilitate access to suitable Government-
      controlled space with sufficient time to conduct ICH services. Where suitable space is
      unavailable at an Immigration Court, the Contractor should notify the COR and
      Contracting Officer (CO) and seek written approval from the CO to provide live ICH
      services in-person at an alternate site. Approval of a POP that contains services at an
      alternative site constitutes the required approval. In addition, the Contractor may provide
      services via telephone, video-conferencing, or other multi-way remote communication at
      alternate sites.

   5) The Contractor must maintain and host a file-share or other electronic repository, with
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      approval from EOIR, to allow subcontractors to access all EOIR-approved ICH self-help
      materials, program guidance, program manuals and curricula, and other program
      management documents. The Contractor will ensure compliance with Section 508 of the
      Rehabilitation Act for any new materials created under this Task Order. The Contractor
      will have one-hundred eighty (180) calendar days from the start of this task order to
      ensure that all program materials created for this program from September 1, 2022,
      onward are updated to comply with Section 508 of the Rehabilitation Act. The Contractor
      will not be required to ensure compliance with Section 508 of the Rehabilitation Act for
      documents created prior to the start of the IDIQ that are made available for review in the
      file-share. The Contractor must ensure the COR and those Government employees the
      COR identifies can access the ICH document repository. All materials produced under
      this Task Order for provision to individuals must be approved by the COR prior to use or
      release, except related to legal strategy. All such materials will be available for
      Contractor use and distribution one (1) business day after EOIR notifies the Contractor of
      approval by providing the mutually agreed upon final version to the Contractor. The
      Contractor will not continue to use or distribute materials after notice from the COR that
      they are invalid for use and distribution.

   6) The Contractor must design and use or distribute to individuals appropriate written and/or
      recorded legal orientation information, self-help guides, and other relevant and
      informative materials and ensure compliance with Section 508 of the Rehabilitation Act
      for any new materials created for this task order. The Contractor will have one-hundred
      eighty (180) calendar days for the start of this task order to ensure that legal orientation
      materials from September 1, 2022, onward are updated to comply with Section 508 of the
      Rehabilitation Act. The Contractor will not be required to ensure compliance with
      Section 508 of the Rehabilitation Act for documents created prior to the start of the IDIQ.
      Prior to creating any materials for general distribution, the Contractor must propose to the
      COR and receive approval for any material, unless related to legal strategy. The COR
      will pre-approve or reject the proposed new materials within five (5) business days of
      receipt of request from Contractor. When submitting non-English language documents to
      EOIR for approval, the Contractor must include a corresponding English version.
      Additionally, the Contractor must conduct a substantive review of any Spanish language
      documents to ensure that the translation is as close as possible to the English language
      version and has undergone a quality assurance process before submitting them to COR
      for approval.

   7) The Contractor must prepare for services by reviewing any information made available to
      the Contractor from the Government on individuals eligible for services, subject to
      applicable privacy and confidentiality laws and consistent with any necessary clearances
      or background checks.

   8) The Contractor must provide Group Information Sessions at the designated sites to
      individuals eligible for services. The Group Information Sessions must include general
      information about pursuing relief or protection from removal and preparing for an
      immigration hearing or interview. The Group Information Sessions must follow the
      general structure of Group Information Sessions as designed by the EOIR ICH Program
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      and contained in the ICH Training Manual. Documentation, including session
      information and the training manual, are subject to the COR’s review and change. The
      Contractor’s presenters will respond to general concerns of program participants in group
      question-and-answer periods held during the Group Information Sessions. Additional
      ICH services may be provided to individuals on days of, or in preparation for, subsequent
      hearings.

   9) The Contractor must provide Individual Information Sessions to unrepresented
      individuals with cases before EOIR and/or DHS, when requested. The Contractor must
      also verbally notify those receiving Individual Information Sessions, prior to the start of
      the Individual Information Session and in a language the individual understands, that the
      Contractor is not the unrepresented individual’s legal representative. Presenters may
      respond to participants’ questions that are general in nature. Presenters may respond to
      specific concerns/questions regarding matters of immigration law and procedure and may
      provide legal advice based on the person’s immigration circumstances. In addition, the
      Contractor must use Individual Information Sessions to distribute self-help legal
      materials and identify cases for possible pro bono representation before EOIR and/or
      DHS.

   10) The Contractor must ensure that all Contractor’s presenters are attorneys, Department of
       Justice (DOJ) Accredited Representatives with full accreditation, or other Contractor staff
       working under the direct supervision of an attorney or DOJ Accredited Representative
       with full accreditation, with reasonable exceptions if approved by the COR. All
       presenters who are attorneys or DOJ Accredited Representatives must be “in good
       standing.” Direct supervision means that an attorney or DOJ Accredited Representative
       with full accreditation is present at the site on the day of services to consult with ICH
       staff or, in the event of emergent circumstances preventing on-site presence at the
       location, is reachable by telephone to consult with ICH staff prior to the completion of
       ICH services on the day the guidance is requested. However, if the Contractor is
       providing services via remote technology, direct supervision means that an attorney or
       DOJ Accredited Representative with full accreditation is available to the ICH staff by
       phone within five minutes of ICH staff sending notice of a need for contact.

   11) The Contractor must provide, to the greatest extent possible, Group Information Sessions
       and Individual Information Sessions to unrepresented individuals prior to or on the same
       day as their initial Master Calendar Hearing, Credible Fear Interview, and/or Asylum
       Merits Interview. Prior to subsequent hearings, the Contractor may provide additional
       ICH services, which may include translating documents or assistance with forms and
       applications.

   12) The Contractor must provide Self-Help Workshops in accordance with the POP for
       unrepresented individuals The purpose of the Self-Help Workshop is to inform and assist
       small groups of unrepresented individuals understand immigration laws, follow
       immigration procedures, pursue particular forms of relief, or understand special
       procedures that may apply to their own legal situation. The presenters may respond to
       specific concerns/questions of an individual regarding matters of immigration law and
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      procedure and may provide legal advice based on the individual’s immigration
      circumstance.

   13) The Contractor must conduct Individual Information Sessions in the individual’s
       preferred language, and Group Information Sessions in the language most appropriate for
       the majority of individuals present. If an individual does not understand the language in
       which the Group Information Session is conducted, the Contractor must provide
       interpreters and/or written or recorded materials in the language understood by the
       individual.

   14) The Contractor must explain to all individuals receiving ICH services that the presenter is
       affiliated with the Contractor/Subcontractor organization and that the presenter is not the
       attorney or representative of the individual(s). For all presentations other than Group
       Information Sessions, the presenter must also obtain written acknowledgment from each
       unrepresented individual stating, in effect, that they (a) understand the presenter is not
       their attorney or representative, and (b) understand that the program cannot guarantee pro
       bono representation in their case. Written acknowledgment can include electronic
       signatures. Only one written acknowledgement form is required per individual. The
       Contractor or Subcontractor organization must retain records of written acknowledgment
       from each unrepresented individual according to applicable records retention schedules.
       The Contractor will introduce data entry protocols that require all Subcontractors to
       confirm (via check box) that either written acknowledgement has been secured or a
       waiver for this requirement has been received from the COR for all services entered in
       the Contractor Database that require written acknowledgement. Written
       acknowledgement records must be disposed in accordance with the provisions of the
       agency record schedules. Services provided via the Info Line and remote services are
       exempt from the written acknowledgement requirement. The COR may grant exceptions
       to the written acknowledgment requirement. The COR will deny or approve or deny
       exceptions to the written acknowledgement within three (3) business days.

   15) The Contractor must provide supplemental ICH services in accordance with the POP,
       which may include:
             a. Follow-up services, such as additional Group Information Sessions, Individual
                 Information Sessions, and Self-Help Workshops;
             b. FOTC services, consistent with EOIR guidance; and/or
             c. Pro bono referrals.

   16) The Contractor must develop a Pro Bono Referral Plan to promote and facilitate pro bono
       representation for unrepresented individuals. The Contractor must provide referrals to
       available pro bono legal and other relevant non-legal services where available. The
       Contractor should exercise care to avoid the perception that such referrals constitute
       representation. The Government encourages referrals for pro bono representation to as
       many different attorneys as possible, given availability constraints. For the Contractor to
       release information and/or documents collected during the performance of services under
       this task order to third parties, including for purposes of pro bono referral and placement,
       the Contractor must obtain written consent from each unrepresented individual. Written
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      consent can include electronic signatures. The Contractor/Subcontractor organization
      must retain records of written consent from each unrepresented individual according to
      applicable records retention schedules. The Contractor will submit on quarterly basis a
      random sampling of 20 percent of the total number of consent forms completed during
      that period, amounting to no more than 400 consent forms for the contract year. Written
      consent records must be disposed in accordance with the provisions of the agency records
      schedules. The COR, in consultation with EOIR’s OGC, may jointly approve exceptions
      to the written consent requirement on a case-by-case basis. Such requests must be legally
      justified, meaning they must be supported by a valid legal reason such as compliance
      with law, urgent and compelling circumstances, significant public interest, or practical
      necessity. The Contractor must submit a written request for exceptions, detailing the
      reasons for the exception to the COR. The COR and EOIR’s OGC must approve or deny
      the request within five (5) business days. If no response or denial is received within this
      period, the request will be deemed approved and the Contractor may proceed with
      obtaining only verbal consent. The Contractor must document the verbal consent and
      retain records in accordance with the retention requirements set out in the IDIQ. The
      consent to disclose information must meet Privacy Act requirements such as those
      provided in Form EOIR-59, 28 CFR § 16.41(d)-(e), and comply with the Immigration
      and Nationality Act and 8 CFR § 1208.6, where applicable. The COR, in consultation
      with EOIR’s OGC, will approve or propose alternative consent language within ten (10)
      business days if the Contractor decides not to use the Form EOIR-59 to obtain written
      consent.

   17) The Contractor will winddown the Mid-Atlantic Call Center and begin hybrid remote/in-
       person ICH services at the Annandale Immigration Court (see Appendix). This transition
       will occur within six months following the commencement date of this Task Order, and
       the Contractor will endeavor to complete the transition prior to six months. Specifics of
       the services, including the Subcontractor, schedule, Subcontractor budget details, and
       exact start-date will be decided by mutual agreement between the Contractor and the
       Government. If the Contractor is unable to secure a Subcontractor to provide hybrid
       services at the Annandale Immigration Court within six months, the Contractor will no
       longer invoice the Government for the Mid-Atlantic hotline. The Contractor will inform
       the Government and may request extensions in 30 calendar day increments to continue
       efforts to find a Subcontractor to provide these services.

   18) The Contractor must maintain the ICH Manual and provide training for all essential
       participants in the program, including Contractor/Subcontractor staff and key
       management staff. The scope of the training is limited to performing contracted program
       services. All training materials, including agendas, must be approved in advance by the
       COR. All trainings must be open to the Government, unless otherwise agreed upon
       between the Government and the Contractor. This training may be in the form of an
       annual conference, a series of on-site training programs for small groups, and/or other
       means such as virtual trainings, individual phone consultations, and group conference
       calls. For all virtual trainings, the Contractor must provide access to the technology
       necessary to facilitate participation. The Government will augment training as necessary
       to provide relevant instruction on practices, procedures, and other information not readily
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       available to non-Government officials. Training will generally be planned and delivered
       via remote technology. In circumstances in which the Contractor believes providing
       training in person is necessary, the Contractor may request approval for an in-person
       training by submitting a written justification for the COR to evaluate in consultation with
       Government training experts. The COR will approve or deny the Contractor’s request
       within fifteen (15) business days.

   19) The Contractor must report to the COR within five (5) business days from when the
       Contractor becomes aware of any problems that arise related to the performance of the
       specific tasks in this SOW and consult with the COR regarding resolution of such
       problems.

   20) The Contractor must coordinate with the COR to conduct visits in-person, where
       resources allow, of each site that the COR and/or the Contractor designates to monitor
       performance and provide feedback regarding services. The Contractor must endeavor to
       send the site visit memorandum draft to the COR within thirty (30) business days of the
       site visit’s completion. The Contractor will finalize the site visit memorandum to the
       COR within fifteen (15) business days of receiving the Government’s feedback.

   21) The Contractor must conduct monthly conference calls with all ICH provider sites to
       discuss program operations and performance, and at any time when either Contractor or
       Government believes it is necessary. At the Governments discretion, the Government
       may participate in such calls. The Government and the Contractor may consult to
       determine instances where written updates from ICH providers can substitute monthly
       conference calls. The Contractor must record written notes memorializing the attendees,
       announcements, main points, and other relevant information shared in the monthly
       conference calls. The Contractor must provide the written notes to the Government
       within twenty-one (21) calendar days from the call.

B. Invoicing. The Contractor must submit a status report to the Government together with the
   monthly invoice by the 25th calendar day of the following month, provided that if the 25th
   calendar day falls on a weekend or holiday, the Contractor must submit the report and
   invoice on the following business day. The report must include the labor hours, broken down
   by labor category upon which the invoice is predicated. The report and invoice must not
   include personally identifiable information (PII). Receipt by the Contractor of the
   Subcontractor’s charges must, for purposes of this task order, be deemed an expense incurred
   by the Contractor, and the Contractor must be entitled to invoice the Government for such
   expenses.

C. Monthly Reports. The Contractor must submit, in conjunction with the corresponding
   monthly invoice, a report to the COR listing the following data points per subcontractor: (i)
   current invoice month spending; (ii) current approved budget; (iii) prior spending for each
   invoice period since the beginning of the Task Order year; and (iv) applicable budget
   analysis as appropriate to explain invoicing variances.

D. Quarterly Reports. The Contractor must submit, based on the fiscal year, a quarterly
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   program management progress report to the COR providing analysis and listing the following
   services conducted over the past quarter and cumulatively since the beginning of the task
   order year, including (i) the number of Group Information Sessions; (ii) the number of
   Individual Information Sessions (including follow-up services); (iii) the number of Self-
   Help/Pro Se Workshops; (iv) the number of individuals provided Friend of the Court
   services; (v) the number of individuals served through the limited appearance regulation; (vi)
   the total number of unique individuals who received ICH services; (vii) the number of pro
   bono referrals made; (viii) the number of pro bono placements made; (ix) the number of
   referrals to non-legal resources made; and (x) other data as deemed necessary by the
   Contractor and the COR. The data should be broken down by legal service provider and
   include Key Performance Indicators, agreed upon by the Government and Contractor within
   ninety (90) calendar days of issuance of this task order. The Quarterly Reports must not
   include PII.

E. Data Access. The Government must have full access to data collected for the performance of
   this task order, not subject to any privilege or otherwise protected from disclosure under the
   law, and the Contractor must provide such data to the Government. Information the
   Contractor collects in the performance of services under this SOW, except information
   subject to privilege or otherwise protected from disclosure under the law, is DOJ information
   and is part of an official EOIR record and can be provided to the Government without
   consent from the individual including, but not limited to, information for furthering efforts
   toward pro bono placement. The Government may request ad hoc reports with ten (10)
   business days of notice to the Contractor unless the COR approves an extension. All parties
   must work in good faith to determine appropriate deadlines based on the nature and
   complexity of the reports, and to coordinate the timing of ad hoc reports with quarterly and
   other required reports.

F. Legal Advice. The provision of legal advice alone to an unrepresented individual does not
   require the legal service provider to enter an appearance to represent the respondent in
   proceedings before EOIR pursuant to 8 CFR 1003.17.

G. Travel. Local travel, defined as travel within fifty (50) miles of the applicable primary place
   of performance (i.e., the immigration court intended to be the site of the ICH), will not be
   reimbursed under this Task Order. Long-distance travel, defined as travel outside of the fifty
   (50) mile radius of the applicable primary place of performance, is generally disfavored and
   must receive written approval by the COR before any travel expenses are incurred. Travel
   requests may be sent to the COR on a quarterly basis, or as needed. The COR will approve or
   deny travel requests within five (5) business days of the request.

H. Noncompliance. In the event the CO or COR finds that the Contractor has failed to comply
   with the purpose of the ICH or any provision of this SOW, the Contractor’s representative
   must be promptly notified in writing of the nature and scope of the deficiency. Upon such
   notice, the Contractor will have thirty (30) calendar days to respond and/or remedy the
   deficiency before any further action is taken by the CO or COR. The CO or COR will notify
   the Contractor, within seven (7) calendar days of any response or attempt to remedy, as to
   whether the Contractor is still found to be out of compliance with this SOW.
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I. Termination. The Government may cancel this task order or the provision of ICH services at
   a particular site covered by this task order for cause or for the Government’s convenience by
   providing advance written notice to the Contractor.

J. Limitations. Nothing in this task order is intended to restrict performance under any other
   task order or other contract vehicle the Department of Justice issues.



                       *****END OF STATEMENT OF WORK*****




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      Appendix: Immigration Court Helpdesk (ICH) Program Locations
                      FY24/FY25 Program Services
                          (Updated 08/30/2024)

   1. Annandale Immigration Court (beginning no later than 03/01/2025)
   2. Boston Immigration Court
   3. Chicago Immigration Court
   4. Denver Immigration Court
   5. Detroit Immigration Court
   6. El Paso Immigration Court
   7. Harlingen Immigration Court
   8. Houston Immigration Court
   9. Los Angeles Immigration Court (North Los Angeles)
   10. Los Angeles Immigration Court (West Los Angeles)
   11. Los Angeles Immigration Court (Van Nuys)
   12. Los Angeles Immigration Court (Santa Ana)
   13. Miami Immigration Court
   14. Newark Immigration Court
   15. New Orleans Immigration Court
   16. New York Immigration Court (Broadway St.)
   17. New York Immigration Court (Federal Plaza)
   18. New York Immigration Court (Varick St.)
   19. Orlando Immigration Court
   20. San Antonio Immigration Court
   21. San Diego Immigration Court
   22. San Francisco Immigration Court
   23. Seattle Immigration Court
   24. ICH Call Center (until no later than 2/28/2025)


                                              10


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                     Case 1:25-cv-00298-RDM                                    Document 65-4                        Filed 04/24/25   Page 45 ofP00006
                                                                                                                              15JPSS22F00000699/ 88 Page 1 of 5
                                                                                                                         1. CONTRACT ID CODE

                                                                                                                                                                   I
                                                                                                                                                                               PAGE          OF       PAGES
              AMENDMENT OF SOLICITATION/MODIFICATION OF CONTRACT                                                           l 5JPSS22D00000013
2. AMENDMENT/MODIFICATION NUMBER                                         3. EFFECTIVE DATE
                                                                                                                       1
                                                                                                            4. REQUISITION/PURCHASE REQUISITION NUMBER
                                                                                                                                                                                     1
                                                                                                                                                                                              I
                                                                                                                                                                               5. PROJECT NUMBER (If
                                                                                                                                                                                                          5


                                                                                                                                                                               applicable)
 P00006                                                                  09/01 /2024                        See Lines                                                        1
6. ISSUEDBY                                                CODE
                                                                          15JPSS                            7. ADMINISTERED BY (If other than Item 6)                        CODE        I
  U.S. Department of Justice
  Procurement Services Staff, OBD
  145 N St., NE, 8E.300
  Washington, DC 20530


8. NAME AND ADDRESS OF CONTRACTOR (Number, stroot, country, state and ZIP Code}                                                          (X) 9A. AMENDMENT OF SOLICITATION NUMBER
                                                                                                                                        ,____
  ACACIA CENTER FOR JUSTICE
  1025 CONNECTICUT AVE NW STE 1000A # 1008
                                                                                                                                                    9B. DATED (SEE ITEM 11)
  WASHINGTON, DC 20036-5417
                                                                                                  UEI: CAJ4W5QGNKK9
                                                                                                  DUNS: 118493024                                  10A. MODIFICATION OF CONTRACT/ORDER
                                                                                                                                                   NUMBER
                                                                                                                                                   JUPC::        J ' tc l 11111111

                                                                                                                                                  10B. DATED (SEE ITEM 13)
                                                                                                                                           X
 CODE                                                             I FACILITY CODE                                                                 09/01/2022
                                                  11. THIS ITEM ONLY APPLIES TO AMENDMENTS OF SOLICITATIONS

D    The above numbered solicitation is amended as set forth in Item 14. The hour and date specified for receipt of Offers                                D     is extended,                 D    is not extended.

 Offers must acknowledge receipt of this amendment prior to the hour and date specified in the solicitation or as amended, by one of the following methods: (a)
 By completing items 8 and 15, and returning _ _ _ _ _ _ _ copies of the amendment; (b} By acknowledging receipt of this amendment on each copy of the
 offer submitted; or (c) By separate letter or electronic communication which includes a reference to the solicitation and amendment numbers. FAILURE OF YOUR
 ACKNOWLEDGMENT TO BE RECEIVED AT THE PLACE DESIGNATED FOR THE RECEIPT OF OFFERS PRIOR TO THE HOUR AND DATE SPECIFIED MAY
 RESULT IN REJECTION OF YOUR OFFER. If by virtue of this amendment you desire to change an offer already submitted, such change may be made by letter or
 electronic communication, provided each letter or electronic communication makes reference to the solicitation and this amendment, and Is received prior to the opening
 hour and date specified.
12. ACCOUNTING AND APPROPRIATION DATA (If required)

 OBD-2022-0339ARMB-JEOIROLAP-JEOIROLAP-JEOIR-JEOIR2222FGLOP-25105-2022
                                            13. THIS ITEM APPLIES ONLY TO MODIFICATIONS OF CONTRACTS/ORDERS.
                                             IT MODIFIES THE CONTRACT/ORDER NUMBER AS DESCRIBED IN ITEM 14.
  CHECK ONE A. THIS CHANGE ORDER IS ISSUED PURSUANT TO: (Specify authority) THE CHANGES SET FORTH IN ITEM 14 ARE MADE IN THE CONTRACT
--------tOROER NUMBER IN ITEM 10A.



                   8. THE ABOVE NUMBERED CONTRACT/ORDER IS MODIFIED TO REFLECT THE AOMINISTRATIVE CHANGES (such as changes in paying office,
        X          appropriation date, etc.) SET FORTH IN ITEM 14, PURSUANT TO THE AUTHORITY OF FAR 43.103(b}.

                   C. THIS SUPPLEMENTAL AGREEMENT IS ENTERED INTO PURSUANT TO AUTHORITY OF:


                   D. OTHER (Specify type of modification and authority)



 E. IMPORTANT: Contractor         □ Is not,        [!]    is required to sign this document and return_I_ copies to the issuing office.


14 . DESCRIPTION OF AMENDMENT/MODIFICATION (Organized by UCF section headings, including solicitation/contract subject matter where feasible.)
 The pwpose of this modification is to exercise option period 2 and add $4,925,972.84 in funding. See the attached revised SOW and pricing for
  details. All other terms and conditions remain unchanged.




Except as provided herein, all terms and conditions ot the document referenced in Item 9A or 10A, as heretofore changed, remains unchanged and in full force and effect.

15A. NAME AND TITLE OF SIGNER (Type or print)                                                            16A. NAME ANO TITLE OF CONTRACTING OFFICER (Type or print)
                                                                                                                                            Markus T Gaines
  Leah Prestamo, General Counsel                                                                                                               Digitally signed by MARKUS

15B. CONTRACTOR/OFFEROR ~                 t&,                                  15C. DATE SIGNED          16B. M.        .1/Yi..,, ~ __
                                                                                                                       L.            :
                                                                                                                 , . _ . JkPJI'~ ~024.09.0609:40:51
                                                                                                                                               -04'00'
                                                                                                                                                                                         16C. DATE SIGNED

                                                    4                                                    By
              (Signature of pvrsun <1uth0r/Z<Jd tu sign)                       9/5/24                                       (Signature of Contracting Officer)
                                                                                                                                                                                             09/04/2024
Previous edi110n unusable                                                                                                                                STANDARD FORM 30 (REV. 11/2016)
                                                                                                                                                         Prescribed by GSA FAR (48 CFR) 53.243

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Section 1 - Commodity or Services Schedule


FY24 FGLOP. Period of Performance: 9/1/23 to 7/31/25

Time and Materials
                                           SCHEDULE OF SUPPLIES/SERVICES
                                                           CONTINUATION SHEET

ITEM NO.                        SUPPLIES/SERVICES                     QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL            AMOUNT

                                                                                                        COSTS   COSTS


  0001     PSC: R418                                                  Previous: 1 LT      Previous:     $0.00   $0.00     Previous:
           Line Period of Performance: 09/01/2022 - 07/31/2023
                                                                      Change: 0    $ ,417,880.42( 00                    $4,417,880.42
           Base Period
                                                                      Current: 1           Change:                      Change: $0.00

                                                                                           $0.00000                       Current:

                                                                                           Current:                     $4,417,880.42

                                                                                   $ ,417,880.42( 00

ITEM NO.                        SUPPLIES/SERVICES                     QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL            AMOUNT

                                                                                                        COSTS   COSTS


  0002     PSC: R418                                                  Previous: 1 LT      Previous:     $0.00   $0.00     Previous:
           Line Period of Performance: 08/01/2023 - 08/31/2024
                                                                      Change: 0    $: ,360,668.28( 00                   $5,360,668.28
           Exercised Option 1
                                                                      Current: 1           Change:                      Change: $0.00

                                                                                           $0.00000                       Current:

                                                                                           Current:                     $5,360,668.28

                                                                                   $: ,360,668.28( 00

ITEM NO.                        SUPPLIES/SERVICES                     QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL            AMOUNT

                                                                                                        COSTS   COSTS


  0003     PSC: R418                                                  Previous: 1 LT      Previous:     $0.00   $0.00     Previous:

           Line Period of Performance: 09/01/2024 - 07/31/2025
                                                                      Change: 0    $: ,698,031.02( 00                   $5,698,031.02
           Exercised Option 2
                                                                      Current: 1           Change:                        Change:

                                                                                       (~ 772,058.1801 0)               ($772,058.18)

                                                                                           Current:                       Current:

                                                                                   $ ,925,972.84( 00                    $4,925,972.84

ITEM NO.                        SUPPLIES/SERVICES                     QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL            AMOUNT

                                                                                                        COSTS   COSTS




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 0004      PSC: R418                                             Previous: 1 LT    Previous:     $0.00   $0.00     Previous:
           Line Period of Performance: 08/01/2025 - 07/31/2026
                                                                  Change: 0    $: ,868,946. 72( 00               $5,868,946.72
           Unexercised Option 3
                                                                  Current: 1       Change:                       Change: $0.00

                                                                                   $0.00000                        Current:

                                                                                   Current:                      $5,868,946.72

                                                                               $: ,868,946. 72( 00

ITEM NO.                          SUPPLIES/SERVICES              QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL          AMOUNT

                                                                                                 COSTS   COSTS


 0005      PSC: R418                                             Previous: 1 LT    Previous:     $0.00   $0.00     Previous:
           Line Period of Performance: 08/01/2026 - 07/31/2027
                                                                  Change: 0    $1 ,044,986.12( 00                $6,044,986.12
           Unexercised Option 4
                                                                  Current: 1       Change:                       Change: $0.00

                                                                                   $0.00000                        Current:

                                                                                   Current:                      $6,044,986.12

                                                                               $1 ,044,986.12( 00

ITEM NO.                          SUPPLIES/SERVICES              QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL          AMOUNT

                                                                                                 COSTS   COSTS


 0006      PSC: R418                                             Previous: 1 LT    Previous:     $0.00   $0.00     Previous:
           Line Period of Performance: 09/01/2022 - 07/31/2023
                                                                  Change: 0    $• ,417,880.42( 00                $4,417,880.42

           Base Period
                                                                  Current: 1       Change:                       Change: $0.00

                                                                                   $0.00000                        Current:

                                                                                   Current:                      $4,417,880.42

                                                                               $• ,417,880.42( 00

ITEM NO.                          SUPPLIES/SERVICES              QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL          AMOUNT

                                                                                                 COSTS   COSTS


 0007      PSC: R418                                             Previous: 1 LT    Previous:     $0.00   $0.00     Previous:

           Line Period of Performance: 08/01/2023 - 07/31/2024
                                                                  Change: O    $: ,172, 780.23( 00               $5,172,780.23

           Unexercised Option 1
                                                                  Current: 1       Change:                       Change: $0.00

                                                                                   $0.00000                        Current:

                                                                                   Current:                      $5,172,780.23

                                                                               $: ,172, 780.23( 00

ITEM NO.                          SUPPLIES/SERVICES              QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL          AMOUNT

                                                                                                 COSTS   COSTS




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  0008     PSC: R418                                                   Previous: 1 LT   Previous:    $0.00     $0.00        Previous:

           Line Period of Performance: 08/01/2024 - 07/31/2025
                                                                       Change:0     $: ,698,031.02( 00                    $5,698,031.02

           Unexercised Option 2
                                                                       Current: 1       Change:                           Change: $0.00

                                                                                        $0.00000                             Current:

                                                                                        Current:                          $5,698,031.02

                                                                                    $ ,698,031.02( 00

ITEM NO.                          SUPPLIES/SERVICES                    QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL             AMOUNT

                                                                                                     COSTS     COSTS


  0009     PSC: R418                                                   Previous: 1 LT   Previous:    $0.00     $0.00        Previous:
           Line Period of Performance: 08/01/2025 - 07/31/2026
                                                                       Change:0     $ ,868,946.72( 00                     $5,868,946.72

           Unexercised Option 3
                                                                       Current: 1       Change:                           Change: $0.00

                                                                                        $0.00000                             Current:

                                                                                        Current:                          $5,868,946.72

                                                                                    $1 ,868,946.72( 00

ITEM NO.                          SUPPLIES/SERVICES                    QUANTITY UNIT UNIT PRICE MATERIAL TRAVEL             AMOUNT

                                                                                                     COSTS     COSTS


  0010     PSC: R418                                                   Previous: 1 LT   Previous:    $0.00     $0.00        Previous:
           Line Period of Performance: 08/01/2026 - 07/31/2027
                                                                       Change:0     $1 ,044,986.12( 00                    $6,044,986.12

           Unexercised Option 4
                                                                       Current: 1       Change:                           Change: $0.00

                                                                                        $0.00000                             Current:

                                                                                        Current:                          $6,044,986.12

                                                                                    $1 ,044,986.12( 00

                                                                                                    Base Total: Original: $8,835,760.84
                                                                                                                    Change: $0.00
                                                                                                                Current: $8,835,760.84
                                                                                      Exercised Options Total: Previous: $5,360,668.28
                                                                                                                Change: $4,925,972.84
                                                                                                               Current: $10,286,641.12
                                                                                    Unexercised Options Total: Previous: $40,396,707.95
                                                                                                               Change: $-5,698,031.02
                                                                                                               Current: $34,698,676.93
                                                                                      Base and Options Total: Previous: $54,593,137.07
                                                                                                                Change: $-772,058.18
                                                                                                               Current: $53,821,078.89




FUNDING DETAILS:
ITEM NO. FUNDING LINE             OBLIGATED AMOUNT                     ACCOUNTING CODES                      REFERENCED REQUISITION


  N/A      1                  Previous: $4,417,880.42       OBD-2022-0339ARMB-JEOIROLAP-JEOIROLAP-                15JE1 R-22-PR-0357

                                     Change: $0.00               JEOIR-JEOI R2222FGLOP-25105-2022



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                                  Current: $4,417,880.42


    N/A       2                   Previous: $5,172,780.23      OBD-2023-0339ARMB-JEOIROLAP-JEOIROLAP-        15JE1 R-23-PR-0283

                                      Change: $0.00                JEOIR-JEOIR2323FGLOP-25105-2023

                                  Current: $5,172,780.23


    N/A       3                    Previous: $187,888.05       OBD-2024-0339ARMB-JEOIROLAP-JEOIROLAP-        15JE1 R-24-PR-0228

                                      Change: $0.00                JEOIR-JEOIR2424FGLOP-25105-2024

                                   Current: $187,888.05


    N/A       4                       Previous: $0.00          OBD-2024-0339ARMB-JEOIROLAP-JEOIROLAP-        15JE1 R-24-PR-0211

                                  Change: $4,925,972.84            JEOIR-JEOIR2424FGLOP-25105-2024

                                  Current : $4,925,972.84

                                 PREVIOUS: $9,778,548.70

                                  CHANGE: $4,925,972.84

                                 CURRENT: $14,704,521.54




Section 2 - Contract Clauses


No Clauses




Section 3 - List of Attachments

No Clauses



Identifier        Title                                                                                 Number of
                                                                                                        Pages
1                 Mod P0001 Exercise Option YR 1
2                 mod P0002.pdf
3                 15JPSS22F00000699 Mod 03.pdf




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                       EOIR Office of Legal Access Programs
                 Family Group Legal Orientation Program (FGLOP)
                          FY24/FY25 Statement of Work
                              (Updated 08/30/2024)

 The objective of the Family Group Legal Orientation Program (FGLOP) is to improve
 adjudication efficiency and assist all parties involved in the immigration legal framework-
 unrepresented families, United States Immigration and Customs Enforcement (ICE), United
 States Citizenship and Immigration Services (USCIS), and the Executive Office for
 Immigration Review (EOIR).

 The FGLOP serves families in defined geographic areas who are:

   1) Participating in ICE’s Alternatives to Detention (ATD) Program, and
   2) Scheduled for a hearing on EOIR’s Dedicated Docket or participating in ICE’s Family
      Expedited Removal Management (FERM) Program.

 The FGLOP informs families about DHS and EOIR practices, the immigration process,
 available legal options, and other relevant resources. Any reference to “FGLOP” includes both
 Multi-Family Group and Single-Family Group Orientations.

 The Contractor must provide services under this order at the sites identified in the Appendix.

 The Government, in consultation with the Contractor, will determine a start service date of not
 more than ninety (90) calendar days to begin services at a new covered site. Upon the
 Contractor’s request, and with evidence of meaningful attempts to begin services (including
 remote options), the Contracting Officer’s Representative (COR) may extend the established
 timeline to start services in increments of thirty (30) calendar days, not to exceed two
 extensions. The Government will determine additional FGLOP sites as appropriate. Following
 identification of a new site for services, and in due consideration of the Contractor’s
 assessment of the viability of an FGLOP site, the Government and the Contractor will
 determine the appropriate start service date. After the first extension of thirty (30) calendar
 days past the original ninety (90) calendar days, the Government may pursue a separate
 contract to start service. In such a scenario, the Contractor will work with any additional
 contractor or service provider to deliver services to the extent that this collaboration does not
 require the Contractor to share proprietary knowledge.

 The period of performance for this task order is September 1, 2024 to July 31, 2025. Two (2)
 additional 12-month option periods may be exercised at the discretion of the Government to
 extend performance through July 31, 2027.

A. Services.

   1) The Contractor must submit a Program Operation Plan (POP) within twenty-one
      (21) business days from the date the Government issues this task order. The COR
      shall complete any required review or approval, within ten (10) business days

                                                  1

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     from the date the Government receives the proposes POP. The POP must
     include:

       a. Structure and schedule of Multi-Family Group and Single-Family Group orientation
          presentations, including any remote services, where the COR determines it is
          appropriate;
       b. Structure and schedule of additional Multi-Family Group Orientations, follow-up
          Single-Family Group Orientations, Self-Help Workshops;
       c. Plan for Friend of the Court (FOTC) services; and
       d. Plan for Pro Bono Referrals and Placements.


  2) The Contractor must provide to the Government, in writing, the most up-to-date FGLOP
     services schedule for all covered sites, which are included in the POP. The POP schedule
     must include scheduled start and end times for each service at each covered site. Such
     POP schedules must be provided to the Government every six months following the start
     of the period of performance. The COR, in consultation with the Contractor, may
     determine alternate timeframes for the periodic updates.

  3) The Contractor must coordinate with the COR and on-site representatives to implement
     the FGLOP at the designated sites. “On-site representatives” may include officials from
     EOIR, the Department of Homeland Security, or other individuals deemed necessary by
     the Contractor or COR. The Contractor must work collaboratively with governmental
     agencies, government contractors, private non-profit agencies, and pro bono attorneys
     who represent individuals in removal proceedings and other immigration processes before
     EOIR and/or DHS. The Contractor must make all reasonable efforts to maintain positive
     working relationships with FGLOP stakeholders, including on-site representatives.
     Collaborative work with governmental agencies and other FGLOP stakeholders may
     include, in consultation with the COR, participating in meetings, providing information
     and data in accordance with Section E below, and responding to other inquiries related to
     the FGLOP. Collaborative work also includes scheduling meetings with relevant
     governmental agencies and FGLOP stakeholders where information sharing is necessary
     for logistical planning and execution. The Contractor must obtain approval from the COR,
     after consultation with EOIR Office of the General Counsel, before providing reports
     required under this SOW or sharing information or data required to be kept confidential to
     any person or entity not employed by the Contractor or EOIR, including in response to
     third-party requests for information or data. The Contractor may provide information to
     volunteer attorneys and/or legal service organizations as part of pro bono referrals, after
     receiving written consent from the participant in accordance with the written consent
     requirements contained in this SOW.

  4) The Contractor must arrange suitable space to provide FGLOP services, which may
     include the EOIR Immigration Court Pro Bono Room or other space within the
     Immigration Court that is appropriate for group presentations and/or private discussions.
     The Government will make its best effort to facilitate access to suitable Government-
     controlled space with sufficient time to conduct FGLOP services. Where suitable space is
     unavailable at an Immigration Court, the Contractor should notify the COR and

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     Contracting Officer (CO) and seek written approval from the CO to provide live FGLOP
     services in-person at an alternate site. Approval of a POP that contains services at an
     alternative site constitutes the required approval. In addition, the Contractor may provide
     services via telephone, video-conferencing, or other multi-way remote communication
     technology at alternate sites.

  5) The Contractor must maintain and host a file-share or other electronic repository, with
     approval from EOIR, to allow subcontractors to access all EOIR-approved FGLOP
     self-help materials, program guidance, program manuals, curricula, and other program
     management documents (FGLOP materials). The Contractor will ensure compliance with
     Section 508 of the Rehabilitation Act, for any new materials created under this Task
     Order. The Contractor will have one-hundred eighty (180) calendar days from the start of
     this task order to ensure that all program materials created for this program from
     September 1, 2022, onward are updated to comply with Section 508 of the Rehabilitation
     Act. The Contractor will not be required to ensure compliance with Section 508 of the
     Rehabilitation Act for documents created prior to the start of the IDIQ that are made
     available for review in the file-share. The Contractor must ensure the COR and those
     Government employees the COR identifies can access the FGLOP materials repository.
     All materials produced under this Task Order for provision to individuals must be
     approved by the COR prior to use or release, except related to legal strategy. All such
     materials will be available for Contractor use and distribution one (1) business day after
     EOIR notifies the Contractor of approval by providing the mutually agreed upon final
     version to the Contractor. The Contractor will not continue to use or distribute materials
     after notice from the COR that they are invalid for use and distribution.

  6) The Contractor must design and use or distribute to family groups appropriate written
     and/or recorded legal orientation information, self-help guides, and other relevant and
     informative materials and ensure compliance with Section 508 of the Rehabilitation Act
     for any new materials created for this task order. The Contractor will have one-hundred
     eighty (180) calendar days for the start of this task order to ensure that legal orientation
     materials from September 1, 2022, onward are updated to comply with Section 508 of the
     Rehabilitation Act. The Contractor will not be required to ensure compliance with Section
     508 of the Rehabilitation Act for documents created prior to the start of the IDIQ. Prior to
     creating any materials for general distribution, the Contractor must propose to the COR
     and receive approval on any materials, unless related to legal strategy. The COR will pre-
     approve or reject the proposed new materials within five (5) business days of receipt of request
     from Contractor. When submitting non-English language documents to the COR for
     approval, the Contractor must include a corresponding English version. Additionally, the
     Contractor must conduct a substantive review of any Spanish language documents to
     ensure that the translation is substantially accurate to the English language version and has
     undergone a quality assurance process before submitting them to the COR for approval.

  7) The Contractor must prepare for services by reviewing any information made available to
     the Contractor from the Government on individuals scheduled to appear before EOIR
     and/or DHS adjudicators, subject to applicable privacy and confidentiality laws and
     consistent with any necessary clearances or background checks.

  8) The Contractor must provide Multi-Family Group Orientations at the designated sites to
                                            3     I
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     family groups with cases before EOIR and/or DHS. Multi-Family Group Orientations
     must include general information about pursuing relief or protection from removal and
     preparing for an immigration hearing and/or a DHS fear assessment interview or
     application adjudication, as relevant to the participating family groups receiving FGLOP
     services. The Multi-Family Group Orientations must follow the general structure of the
     Multi-Family Group Orientations as designed by the FGLOP and contained in the FGLOP
     Training Manual. Documentation, including session information and the FGLOP training
     manual, are subject to the COR’s review and change. The Contractor’s presenters will
     respond to general concerns of program participants in group question-and-answer periods
     held during the Multi-Family Group Orientations. Additional FGLOP services may be
     provided to individuals on days of, or in preparation for, subsequent hearings.

  9) The Contractor must provide Single-Family Group Orientations at the designated sites to
     family groups with cases before EOIR and/or DHS, when requested. Single-Family
     Group Orientations are limited to a particular family, and only those families who do not
     have legal representation. The Contractor must also verbally notify those receiving
     Single-Family Group Orientations, prior to the start of the Single-Family Orientation
     and in a language they understand. that the Contractor is not the family members’ legal
     representative. Presenters may respond to family members’ questions that are general in
     nature. Presenters may only respond to questions specific to an immigration case or
     specific factual scenario by providing general information or a referral to a legal
     representative. Single- Family Group Orientations and responses to any questions must
     be general in nature. In addition, the Contractor must use Single-Family Group
     Orientations to distribute self-help legal materials and identify cases for possible pro
     bono representation before EOIR and/or DHS.

  10) The Contractor must ensure that all Contractor’s presenters are attorneys, Department of
      Justice (DOJ) Accredited Representatives with full accreditation, or other Contractor staff
      working under the direct supervision of an attorney or DOJ Accredited Representative
      with full accreditation, with reasonable exceptions if approved by the COR. All presenters
      who are attorneys or DOJ Accredited Representatives must be “in good standing”. Direct
      supervision means that an attorney or DOJ Accredited Representative with full
      accreditation is present at the site on the day of services to consult with FGLOP staff or,
      in the event of emergent circumstances preventing on-site presence at the location, is
      reachable by telephone to consult with FGLOP staff prior to the completion of FGLOP
      services on the day the guidance is requested. However, if the Contractor is providing
      services via remote technology, direct supervision means that an attorney or DOJ
      Accredited Representative with full accreditation is available to the FGLOP staff by
      phone within five minutes of FGLOP staff sending notice of a need for contact.

  11) The Contractor must provide, to the greatest extent possible, Multi-Family Group
      Orientations and Single-Family Group Orientations to unrepresented families prior to or
      on the same day as their Master Calendar Hearing, Credible Fear Interview (CFI), and/or
      Credible Fear Review (CFR). Prior to subsequent hearings, the Contractor may provide
      additional FGLOP services, which may include translating documents or assistance with
      forms and applications.


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  12) The Contractor must provide Self-Help Workshops in accordance with the POP for
      unrepresented families. The purpose of the Self-Help Workshop is to inform and assist
      small groups of unrepresented families understand immigration laws, follow
      immigration procedures, understand particular forms of relief, or understand special
      procedures that may apply to their own legal situation. The presenters may respond to
      specific concerns/questions of an individual regarding matters of immigration law and
      procedure.

  13) The Contractor must conduct Single-Family Group Orientation services in the preferred
      language for the head of the family group, and Multi-Family Group Orientations in the
      language most appropriate for the majority of families present. If a family head does not
      understand the language in which the Multi-Family Group Orientation is conducted, the
      Contractor must provide interpreters and/or written or recorded orientation materials in the
      language understood by the family head.

  14) Contractor must explain to all unrepresented families receiving FGLOP services that the
     presenter is affiliated with the Contractor/Subcontractor organization and that the presenter
     is not the attorney or representative of the family group. For all presentations other than
     Multi-Family Group Orientations, the presenter must also obtain written acknowledgment
     from the family head stating, in effect, that the family group (a) understands the presenter
     is not the attorney or representative of the family, and (b) understands that the program
     cannot guarantee pro bono representation in their case. Written acknowledgment can
     include electronic signatures. Only one written acknowledgement form is required per
     individual. The Contractor/Subcontractor organization must retain records of written
     acknowledgment from each unrepresented family group according to applicable records
     retention schedules. The Contractor will introduce data entry protocols that require all
     Subcontractors to confirm (via check box) that either written acknowledgement has been
     secured or a waiver for this requirement has been received from the COR for all services
     entered in the Contractor Database that require written acknowledgement., Written
     acknowledgement records must be disposed in accordance with the provisions of the
     agency record schedules. Services provided via the FERM Info Line and remote services
     are exempt from the written acknowledgement requirement. The COR may grant
     exceptions to the written acknowledgement requirement. The COR will deny or approve
     or deny exceptions to the written acknowledgement within three (3) business days.

  15) The Contractor must provide supplemental FGLOP services in accordance with the POP,
      which may include:

       a. Follow up services, such as additional Multi-Family Group Orientations, Single-
          Family Group Orientations, and Self-Help Workshops;
       b. FOTC services, consistent with EOIR guidance; and/or
       c. Pro bono referrals.

  16) The Contractor must develop a Pro Bono Referral Plan to promote and facilitate pro bono
      representation for unrepresented families. The Contractor must provide referrals to
      available pro bono legal and other relevant non-legal services where available. The
      Contractor should exercise care to avoid the perception that such referrals constitute

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     representation. The Government encourages referrals for pro bono representation to as
     many different attorneys as possible, given availability constraints. For the Contractor to
     release information and/or documents collected during the performance of services under
     this task order to third parties, including for purposes of pro bono referral and placement,
     the Contractor must obtain written consent from each unrepresented adult for themselves
     and their children individually. Written consent can include electronic signatures. Adults
     may provide written consent for their minor children. The Contractor/Subcontractor
     organization must retain records of written consent from each unrepresented individual
     according to applicable records retention schedules. The Contractor will submit on
     quarterly basis a random sampling of 20 percent of the total number of consent forms
     completed during that period for that quarter amounting to no more than four hundred
     (400) consent forms for the contract year. Written consent records must be disposed in
     accordance with the provisions of the agency records schedules. The COR, in consultation
     with EOIR’s OGC, may approve exceptions to the written consent requirement on a case-
     by-case basis. Such requests must be legally justified, meaning they must be supported by
     a valid legal reason such as compliance with law, urgent and compelling circumstances,
     significant public interest, or practical necessity. The Contractor must submit a written
     request for exceptions, detailing the reasons for the exception to the COR. The COR and
     EOIR’s OGC must approve or deny the request within five (5) business days. If no
     response or denial is received within this period, the request will be deemed approved and
     the Contractor may proceed with obtaining only verbal consent. The Contractor must
     document the verbal consent and retain records in accordance with the retention
     requirements set out in the IDIQ. The consent to disclose information must meet Privacy
     Act requirements such as those provided in Form EOIR-59, 28 CFR § 16.41(d)-(e), and
     comply with the Immigration and Nationality Act and 8 CFR § 1208.6, where applicable.
     The COR, in consultation with EOIR’s OGC, will approve or propose an alternative
     consent language within ten (10) business days if the Contractor decides not to use the
     Form EOIR-59 to obtain written consent.

  17) The Contractor must maintain and manage an information line to provide telephonic
      and/or live video orientations and referrals to in-person FGLOP services, where available
      and appropriate, for families enrolled in FERM. This may be through telephone, video-
      teleconferencing equipment, or equivalent multi-way remote communication technology.
      The purpose of the information line is to provide FGLOP services, modified for remote
      delivery, at agreed upon sites listed in the Appendix. The information line will prioritize
      families enrolled in FERM and provide other FGLOP services where capacity allows.
      These include sites where existent services are insufficient to meet demand as determined
      by the COR. The COR will determine which sites are appropriate for implementation of
      an information line, and may redirect services in consultation with the Contractor. The
      parties will agree on performance metrics for information line services, such as the
      minimum number of unique individuals to be served or the frequency with which services
      will be provided. The Contractor will also distribute to individuals appropriate and
      informative written materials (e.g., an outline of the topics discussed at the presentation, a
      list of legal and/or social services in the local community), subject to materials
      development, use, and distribution requirements above, by regular mail, e-mail, or other
      methods of correspondence.


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  18) The Contractor must finalize the translation of the completed video scripts in the four
      previously agreed upon languages: Spanish, Portuguese, French, and Creole to inform
      respondents about DHS and EOIR practices, the immigration process, available legal
      options, and other relevant resources. The Contractor will collaborate with the Government
      on the production of a series of short, informational videos for respondents and develop
      resources in multiple languages (as designated above ) to complement the informational
      videos.

  19) The Contractor must maintain the FGLOP Manual and provide training for all essential
      participants in the program, including Contractor/Subcontractor staff and key
      management staff. The scope of the training is limited to performing contracted program
      services. All training materials, including agendas, must be approved in advance by the
      COR. All trainings must be open to the Government, unless otherwise agreed upon
      between the Government and the Contractor. This training may be in the form of an
      annual conference, a series of on-site training programs for small groups, and/or other
      means such as virtual trainings, individual phone consultations, and group conference
      calls. For all virtual trainings, the Contractor must provide access to the technology
      necessary to facilitate participation. The Government will augment training as necessary
      to provide relevant instruction on practices, procedures, and other information not readily
      available to non-Government officials. Training will generally be planned and delivered
      via remote technology. In circumstances in which the Contractor believes providing
      training in person is necessary, the Contractor may request approval for an in-person
      training by submitting a written justification for the COR to evaluate in consultation with
      Government training experts. The COR will approve or deny the Contractor’s request
      within fifteen (15) business days.

  20) The Contractor must report to the COR within five (5) business days from when the
      Contractor becomes aware of any problems that arise related to the performance of the
      specific tasks in this SOW and consult with the COR regarding resolution of such problems.

  21) The Contractor must coordinate with the COR to conduct visits in-person, where resources
      allow, of each site that the COR and/or the Contractor designates to monitor performance
      and provide feedback regarding services. The Contractor must endeavor to send the site
      visit memorandum draft to the COR within thirty (30) business days of the site visit’s
      completion. The Contractor will finalize the site visit memorandum to the COR within
      fifteen (15) business days of receiving the Government’s feedback.

  22) The Contractor must conduct monthly conference calls with all FGLOP provider sites to
      discuss program operations and performance, and at any time when either the Contractor or
      Government believes it is necessary. At the Government’s discretion, the Government may
      participate in such calls. The Government and the Contractor may consult to determine
      instances where written updates from FGLOP providers can substitute monthly conference
      calls.-The Contractor must record written notes memorializing the attendees,
      announcements, main points, and other relevant information shared in the monthly
      conference calls. The Contractor must provide written notes within twenty-one 21 calendar
      days from the call.


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B. Invoicing. The Contractor must submit a status report to the Government together with the
   monthly invoice by the 25th calendar day of the following month, provided that if the 25th
   calendar day falls on a weekend or holiday, the Contractor must submit the report and
   invoice on the following business day. The report must include the labor hours, broken
   down by labor category upon which the invoice is predicated. The report and invoice must
   not include personally identifiable information (PII). Receipt by the Contractor of the
   Subcontractor’s charges must for purposes of this task order, be deemed an expense
   incurred by the Contractor, and the Contractor must be entitled to invoice the Government
   for such expenses.

C. Monthly Reports. The Contractor must submit, in conjunction with the corresponding
   monthly invoice, a report to the COR listing the following data points per subcontractor: (i)
   current invoice month spending; (ii) current approved budget; (iii) prior spending for each
   invoice period since the beginning of the Task Order year; and (iv) applicable budget
   analysis as appropriate to explain invoicing variances.

D. Quarterly Reports. The Contractor must submit, based on the fiscal year, a quarterly
   program management progress report to the COR providing analysis and listing the
   following services conducted over the past quarter and cumulatively since the beginning of
   the task order year, including (i) the number of Multi-Family Group Orientations; (ii) the
   number of Single-Family Group Orientations (including follow-up services); (iii) the
   number of Self-Help Workshops; (iv) the number of families served through FOTC
   services; (v) the number of individuals served through the limited appearance regulation;
   (vi) the total number of unique individuals who received FGLOP services; (vii) the number
   of pro bono referrals; (viii) the number of pro bono placements; (ix) the number of referrals
   to non-legal resources; and (x) other data as deemed necessary by the Contractor and the
   COR. The data should be broken down by legal service provider and include Key
   Performance Indicators, agreed upon by the Government and Contractor within ninety (90)
   calendar days of the issuance of this task order. The Quarterly Reports must not include PII.

E. Data Access. The Government must have full access to data collected for the performance
   of this task order, not subject to any privilege or otherwise protected from disclosure under
   the law, and the Contractor must provide such data to the Government. Information the
   Contractor collects in the performance of services under this SOW except information subject
   to privilege or otherwise protected from disclosure under the law,-is DOJ information and is part
   of an official EOIR record and can be provided to the Government without consent from
   the individual including, but not limited to, aggregate information, not subject to privilege,
   for furthering efforts toward pro bono placement. The Government may request ad hoc
   reports with 10 business days of notice to the Contractor unless the COR approves an
   extension. All parties must work in good faith to determine appropriate deadlines based on
   the nature and complexity of the reports, and to coordinate the timing of ad hoc reports with
   quarterly and other required reports.

F. Spending Restrictions. Contract funds are specifically restricted to the services outlined
   within this SOW and may not be used to provide “representation” within the meaning of
   8 C.F.R. §1001.1(m), including practice and preparation as defined in 8 C.F.R. §
   1001.1(j) and (k), and as restricted by section 292 of the Immigration and Nationality

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   Act, 8 U.S.C. § 1362..

G. Travel. Local travel, defined as travel within fifty (50) miles of the applicable primary place
   of performance (i.e., the immigration court intended to be the site of the FGLOP), will not be
   reimbursed under this Task Order. Long-distance travel, defined as travel outside of the fifty
   (50) mile radius of the applicable primary place of performance, is generally disfavored and
   must receive written approval by the COR before any travel expenses are incurred. Travel
   requests may be sent to the COR on a quarterly basis, or as needed. The COR will approve or
   deny travel requests within five (5) business days of the request.

H. Noncompliance. In the event the CO or COR finds that the Contractor has failed to comply
   with the purpose of the FGLOP or any provision of this SOW, the Contractor’s representative
   must be promptly notified in writing of the nature and scope of the deficiency. Upon such
   notice, the Contractor will have thirty (30) calendar days to respond and/or remedy the
   deficiency before any further action is taken by the CO or COR. The CO or COR will notify
   the Contractor, within seven (7) calendar days of any response or attempt to remedy the
   deficiency, as to whether the Contractor is still found to be out of compliance with this SOW.

I. Termination. The Government may cancel this task order or the provision of FGLOP
   services at a particular site covered by this task order for cause or for the Government’s
   convenience by providing advance written notice to the Contractor.

J. Limitations. Nothing in this task order is intended to restrict performance under any other
   task order or other contract vehicle the Department of Justice issues.




                        *****END OF STATEMENT OF WORK*****




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    Appendix: Family Group Legal Orientation Program (FGLOP) Sites
                     FY24/FY25 Program Services
                         (Updated 08/30/2024)

  1. Boston Immigration Court
  2. Denver Immigration Court
  3. Detroit Immigration Court
  4. Los Angeles – N. Los Angeles Street Immigration Court
  5. Miami Immigration Court
  6. Newark Immigration Court
  7. New York – Varick Street Immigration Court
  8. San Francisco Immigration Court
  9. Seattle Immigration Court
  10.FERM Info Line (Annandale, Baltimore, Chicago, and Newark)




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PM Support - Labor
PM GRAND TOTAL




1. Boston                                               $
2. Denver                                               $
3. Detroit                                              $
4 . El Paso                                             $
5. Los Angeles                                          $
6. Miami                                                $
7. New ark                                              $
8. New York                                             $
9. San Diego                                            $
10. San Francisco                                       $
11. Seatt le                                            $
12. Fam ily Exped ited Removal Management (FERM)        $
13. Orientation Videos                                  $
ODC                                                     $
SERVICES TOTAL                                          $

Task Order Total Cost
GRAND TOTAL                                             $               4,925,972.84




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                         EOIR Office of Legal Access Programs
                            Counsel for Children Initiative
                                         (CCI)
                            FY24/FY25 Statement of Work
                                    Option Year 2
                                 (Updated 07/31/24)


   I.    Introduction and Requirements to Provide Legal Counsel to Unrepresented
         Children in Immigration Proceedings

         A. Introduction

            The Contractor will provide legal representation and other related services (“program
            services”) via provision of CCI Representatives (as defined below) to children (“covered
            children”) who:

                    1) are younger than the age of 18 at the time of the filing of the entry of
                       appearance (Form EOIR-28 or Form EOIR-27 Notice of Appearance) of the
                       CCI Representative;

                    2) are not currently in the custody of the Department of Health and Human
                       Services (“HHS”), Office of Refugee Resettlement (“ORR”);

                    3) has a Notice to Appear (“NTA”) filed with an immigration court;

                    4) regarding merits hearings:

                            a. have not had a merits hearing; or
                            b. have had a merits hearing that resulted in a continuance,
                               administrative closure, or an in absentia removal order;

                    5) are not in consolidated immigration proceedings with a family member
                       aged 18 or older; and

                    6) are not represented by other counsel in immigration proceedings
                       before EOIR or receiving services under the Legal Access Services for
                       Reunified Families (LASRF).

            The above-listed requirements apply only to the initial determination of a child’s
            eligibility for program services. “Immigration proceedings” means, and is limited
            to, proceedings at which Immigration and Customs Enforcement (“ICE”) files an
            NTA on behalf of the Department of Homeland Security (“DHS”) before an
            immigration judge or the Board of Immigration Appeals (“BIA”):

                    1) that occur prior to the entry of a final administrative order of removal,
                       or a final administrative determination pursuant to 8 C.F.R. §
                                               1


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                        1208.2(c)(3); or

                   2) custody redetermination (i.e., bond) hearings that occur after the entry
                      of a final administrative order of removal, final administrative order of
                      deportation, final administrative order of exclusion, or a final
                      administrative determination pursuant to 8 C.F.R. § 1208.2(c)(3).

         B. Requirements for CCI Representatives

            Program services must be provided to the covered children regardless of the
            child’s eligibility for immigration relief (i.e., a legal remedy to remain lawfully in
            the United States). The age of the child will be determined by the date of birth
            listed on the NTA or, should this information not be available, other U.S.
            government official data, such as documents from DHS, EOIR or ORR.

            To be eligible for program services, the child must be in immigration proceedings
            in an immigration court jurisdiction identified in the Appendix or on appeal to the
            Board from such court. Program services may be provided in additional
            immigration court jurisdictions not listed in the Appendix upon written approval
            of the Contracting Officer’s Representative (“COR”).

            Contractor staff who provide services under this Contract and who meet
            individually with a child, under the age of 18 and outside the presence of the
            child’s custodian or caregiver, must have passed the required background check
            approved by EOIR Office of Security. The Contractor must also comply with any
            mandatory reporting requirements in accordance with federal, state, and local
            laws and immediately notify the COR of any incidents requiring reporting.


   II.   Objective, Program Name, Program Scope, and Period and Place of
         Performance

         A. Objective

            The objective of this Statement of Work is for the Contractor to provide program
            services via provision of CCI Representatives to child respondents (“CCI
            Respondents” as defined in Section I).

         B. Program Name and Terminology

            1) The program through which the Contractor provides program services is
               known as the “Counsel for Children Initiative,” or “CCI.”

            2) Program services described in section III below are “Counsel for Children” or
               “CCI” cases.

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          C. Program Scope

             The CCI scope of services extends to all covered immigration proceedings (as
             defined in Section I) as implemented under section II.E., below.

          D. Period of Performance

             The period of performance for this task order is August 1, 2024 to July 31, 2025.
             Two (2) additional 12-month option periods may be exercised at the discretion of
             the Government to extend performance through August 31, 2027 31, 2027.

          E. Place of Performance

             The Contractor is required to provide the program services described by this
             Statement of Work to CCI Respondents in covered immigration proceedings in
             the immigration court jurisdictions listed in the Appendix.


   III.   Specific Program Requirements

          A. Specific Tasks to Be Performed and Program Services to Be Provided

             1) Provide legal representation via provision of a CCI Representative in the
                following circumstances:

                 1) Representation in immigration proceedings prior to entry of a final administrative
                     order or determination, as follows:

                                 (1) Immigration and Nationality Act Section 240 removal
                                     proceedings, before the immigration court;

                                 (2) Custody redetermination (i.e., bond) proceedings before the
                                     immigration court;

                                 (3) Immigration court “asylum only” and “withholding only”
                                     proceedings pursuant to 8 C.F.R. § 1208.2; and

                                 (4) All appellate proceedings before the BIA; or

                 2) Representation in any case-related work before United States Citizenship
                    and Immigration Services (“USCIS”) directly relating to representation in
                    section III.A.1.(a), above; or

                 3) Representation in all motions to reopen and/or reconsider directly relating
                    to proceeding listed in section III.A.1.(a)-(b), above; or

                 4) Representation to obtain Special Immigrant Juvenile status and related
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                      work in state court, including appeals or writs.

            2) If an immigration judge terminates EOIR proceedings on a case already
               accepted for CCI representation, CCI Representatives are permitted to initiate
               and/or continue representation before USCIS until USCIS completes the case.

            3) Program services must not include services related to any claims or litigation
               before federal district courts, circuit courts of appeals, or the Supreme Court
               of the United States.

            4) The Contractor must provide the program services set forth in this Statement
               of Work for a Baseline Caseload of 200 CCI Respondents, as further described
               by and subject to the provisions of section IX, below.

         B. Definition and Role of “CCI Representative”

            1) “CCI Representative” is defined as a licensed attorney, a law student or law
               graduate directly supervised by a licensed attorney, or a DOJ Accredited
               Representative with full accreditation, as set forth in 8 C.F.R. § 1292.1.

            2) The role of a CCI Representative in the performance of this Statement of
               Work is that of an advocate exercising independent professional judgment and
               providing independent, zealous, and competent representation.

         C. Timing of Entry of Appearance by CCI Representative

            1) In all cases, the CCI Representative providing the program services described
               in this Statement of Work to any CCI Respondent must enter an appearance
               before the immigration court and/or the BIA through the completion and filing
               of Form EOIR-28 or Form EOIR-27, respectively.

            2) The Form EOIR-28 or Form EOIR-27 must be filed within 60 calendar days
               of EOIR’s approval of the case for CCI eligibility, or before the child reaches
               18 years of age (whichever is earlier). Requests for extension of the 60-day
               filing requirement must be submitted to the COR and will be evaluated on a
               case-by-case basis.

         D. Withdrawal from Representation

            The CCI Representative may only move to withdraw from representation due to:

                 1) Potential violation of professional ethical standards;

                 2) Other conflicts of interest not known prior to the CCI Representative’s
                    entry of appearance; or

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                 3) Where withdrawal is otherwise required or permitted by law.

         E. Additional Specific Tasks to be Performed by the Contractor and
         Subcontractor CCI Representative Organizations

         1) Supplementary Program Operation Plans

            The Contractor must establish a Supplementary Program Operation Plan
            (“SPOP”), in consultation with the COR, for the Place of Performance applicable
            to that organization for each current or prospective CCI Representative
            organization intended to provide CCI services to multiple clients throughout the
            task order’s period of performance. Each SPOP must include, at a minimum, the
            following:

            1) Start date and implementation schedule for all tasks and program services
               required by this Statement of Work;

            2) An explanation of the qualifications and capacities of the CCI Representative
               organization to efficiently and effectively provide the program services
               described in this Statement of Work; and

            3) Proposed data management (including required data reporting), proposed
               personnel management and staffing (including staff supervision), and a
               training plan to equip staff with the capacities to provide the program services
               required by this Statement of Work.

         2) Conference Calls

            The Contractor must conduct monthly conference calls with the COR and CCI
            Representatives sub-contracted under this Statement of Work to discuss program
            performance. The Contractor and the COR may hold fewer conference calls or
            additional conference calls and/or meetings as they mutually deem necessary.
            Nothing in this section requires the Contractor or its subcontractors to breach any
            ethical obligation the Contractor or its subcontractors may have to withhold
            privileged, protected, or other confidential information.

         3) Program Development, Implementation, Monitoring, Evaluation, and Reporting
            Requirements

            The Contractor must coordinate with the COR and any relevant on-site
            representatives to develop, implement, monitor, and evaluate the program. On-site
            representatives may include officials from the Government or other individuals
            deemed necessary by the Contractor or the COR. The Contractor must provide
            information regarding performance of this Contract, as requested by the
            Government and on-site representatives, to permit program development,
            implementation, monitoring, reporting, and evaluation. Nothing in this section
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            requires the Contractor or its CCI Representative subcontractors to breach any
            ethical obligation the Contractor or its subcontractors may have to withhold
            privileged or protected or other confidential information. The Government must
            have full access to data collected for the performance of the task order, not subject
            to any privilege or otherwise protected from disclosure under the law, and the
            Contractor must provide such data to the Government. The Government can
            request ad hoc reports with 10 business days of notice to the Contractor unless the
            COR approves an extension. All parties must work in good faith to determine
            appropriate deadlines based on the nature and complexity of the reports, and to
            coordinate the timing of ad hoc reports with quarterly and other required reports.

         4) Stakeholder Relations

            The Contractor will maintain collaborative working relationships with all
            stakeholders. Any meetings with government stakeholders must include the COR
            or a COR-designee.

         F. Data Collection, Privacy, Records, and Information Security Requirements

            1) The Contractor must collect data regarding all new CCI cases (cases initiated
               after the starting date of the FY 2022/2023 Tas Order (“TO”)) for which the
               Contractor or its subcontractors is providing representation. The data to be
               collected must include, at a minimum, the name and alien registration number
               of each child being represented, as well as the data necessary to compile
               Quarterly Reports, as described below.

                   (1) Quarterly Reports. The Contractor must submit, based on the fiscal
                       year, a progress report to the COR listing the following data fields
                       over the past quarter and cumulatively since the beginning of the task
                       order year, including (i) the number of cases submitted to EOIR for
                       approval; (ii) the number of cases approved for representation; (iii) the
                       number of cases rejected and the reason(s) why; (iv) the number of
                       cases withdrawn, rescinded, or otherwise requested to be removed
                       from CCI and the reason(s) why; (v) the number of cases completed;
                       (vi) the number of cases in which an immigration judge terminated
                       proceedings on a case already accepted for CCI representation, where
                       there is continued representation before USCIS; and (vii) other data as
                       deemed necessary by the Contractor and the COR. The quarterly
                       report must be due to the COR or a designee 45 calendar days after the
                       end of the quarter.


   IV.   Terms Governing the Availability of Contract Funds for Program Services

         A. General Rules on Availability of Contract Funds for Program Services

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              1)   Contract funds are specifically restricted to activities reasonably required to
                   fulfill the Contract’s requirements and to provide the program services
                   described herein. Contract funds may not be used for any other purpose
                   without the prior written authorization of the Government.

              2)   As a general matter, and subject to additional provisions below, including
                   section IV.C., Contract funds may be used to provide program services to
                   CCI Respondents whose covered immigration proceedings have not reached
                   a final administrative order or determination.

                    a) An order or determination becomes administratively final upon:

                            i.     The expiration of the period in which DHS and/or the CCI
                                   Respondent are permitted to file an appeal of the immigration
                                   judge’s order (30 calendar days from the date of initial entry
                                   of the order); or

                            ii.    A final BIA determination on an appeal of the order or
                                   determination by the immigration court, or other final
                                   determination by the BIA.

                   b) The COR may approve the use of Contract funds past the date on which
                      an order or determination becomes administratively final upon a showing
                      by a CCI Representative of exceptional circumstances warranting the
                      continuation of program funding. CCI Representatives must receive
                      written approval from the Government before using Contract funds in
                      cases that are not subject to the provisions below in which an order or
                      determination has become administratively final.

         B.        Availability of Contract Funds Where There is an Entry of Appearance
                   or Substitution of Counsel by Another Legal Representative Not
                   Provided Through This Contract

                   Contract funds may not be used to provide program services to a CCI
                   Respondent in any immigration proceedings in which there is a current
                   primary attorney of record or substitution of counsel by another legal
                   representative (not provided through this Contract) in the same proceeding,
                   and which entry of appearance or substitution of counsel is accepted by the
                   immigration judge or BIA.

          C. Availability of Contract Funds and Termination

               As noted in section III.A.2. above, in the event that an immigration judge
               terminates proceedings on a case already accepted for CCI representation,
               Contract funds may be used to continue representation until the case has been
               completed before USCIS.
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               D. Availability of Contract Funds and Administrative Closure

                 Contract funds may be used to continue providing program services to any CCI
                 Respondent whose immigration proceedings outlined in section III.A.1.(a)-(d)
                 above are administratively closed, where such work is directly relating to those
                 proceedings.

   V.       Termination of the Contract

            In the event the Contracting Officer (“CO”) or COR finds that the Contractor has
            failed to comply with the purpose of the CCI or any provision of this Statement of
            Work (excluding reasonable actions or inactions by a CCI Representative based on
            the CCI Representative’s duty to exercise independent professional judgment and to
            provide independent, zealous, and competent representation), the Contractor’s
            representative must be promptly notified in writing of the nature and scope of the
            deficiency. Upon such notice, the Contractor will have 30 calendar days to respond
            and/or remedy the deficiency before any further action is taken by the CO or COR.
            The CO or COR will notify the Contractor, within 7 calendar days of any response or
            attempt to remedy, as to whether the Contractor is still found to be out of compliance
            with this Statement of Work. If, after the Contractor has had an opportunity to
            respond and/or remedy the deficiency, the Government finds that the Contractor has
            materially breached this contract, the Government may, in its discretion, terminate the
            Contract.

   VI.      Contractor Conflict of Interest


            The Contractor must notify the Government in writing of any conflicts of interest
            held by the Contractor, its subcontractors, and/or its agents and representatives within
            24 hours of its determination of the existence of the conflict(s) of interest.

   VII.     Contractor Performance Problems


          The Contractor must as soon as possible report to the Government any problems,
          impediments, or difficulties that arise related to the performance of this task order and
          will consult with the Government regarding resolution of such problems, impediments,
          or difficulties. Nothing in this section requires the Contractor or its subcontractors to
          breach any ethical obligation the Contractor or its subcontractors may have to withhold
          privileged or protected or other confidential information.


    VIII.        Provisions Governing Contractor Travel


          A.      No Reimbursement For Local Travel; Reimbursement for Long-Distance
                                                  8


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                           Travel

          Local travel, defined as travel within fifty (50) miles of the applicable primary place of
          performance (i.e., the immigration court with venue over the CCI Respondent’s case, as
          specified in each case), will not be reimbursed under this Contract. In the event,
          however, that services are required to be performed more than 50 miles from this
          location, the Contractor must be reimbursed for any actual travel costs reasonably
          necessary to carry out the terms of this Contract. The Contractor should make
          reasonable efforts to assign a CCI Representative who will not require reimbursement
          for travel.

       B.           Requirements for Reimbursement for Long Distance Travel

               1)      All reimbursable long-distance travel related to training must be approved in
                       advance, in writing (e-mail is acceptable), by the COR. The COR will review
                       travel requests and respond within five business days of the request. All travel
                       requirements must be met using the most economical form of transportation
                       available. If economy class transportation is not available, the Contractor must
                       submit, to the COR, a request for advance approval to utilize higher-class
                       travel. All travel should be scheduled sufficiently in advance to permit use of
                       offered discount rates. Individual travel authorization letters may be provided
                       to the Contractor (for all Contractor personnel who are required to travel)
                       which may allow Contractor personnel to receive Government rates when on
                       long-distance travel.

               2)      If a particular trip is canceled or travel dates are changed due to the
                       Government’s actions, the Government will, absent special circumstances,
                       pay airline cancellation charges or airline charges for changes in the travel
                       dates.


    IX.             Services and Prices

          A.         Fully-Loaded Fixed Price

          1)           The Contractor must provide the program services in this Statement of Work
                       for the Baseline Caseload at a Fixed Price.

          2)           The Fixed Price for the Baseline Caseload must be fully loaded; that is, it
                       must include all costs required to provide program services to the Baseline
                       Caseload (including all subcontracted legal services provider costs, incidental
                       case costs, and all third-party costs (experts, interpreters, etc.), and must also
                       include the Contractor’s costs and Other Direct Costs (ODC)).

          B.         Baseline Caseload
                                                      9


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       The Baseline Caseload for FY24/25 is not to exceed 200 Counsel for Children cases,
       including any cases from previous fiscal years that remain pending under the IDIQ.



                    *****END OF STATEMENT OF WORK*****




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                                                                                     Government (Fixed-Price).



  52.249-2 Termination for Convenience of the Government (Fixed-Price).

  As prescribed in 49.502 (b)(1)(i), insert the following clause:

  Termination for Convenience of the Government (Fixed-Price) (Apr 2012)

  (a) The Government may terminate performance of work under this contract in whole or, from time to time, in
  part if the Contracting Officer determines that a termination is in the Government’s interest. The Contracting
  Officer shall terminate by delivering to the Contractor a Notice of Termination specifying the extent of
  termination and the effective date.

  (b) After receipt of a Notice of Termination, and except as directed by the Contracting Officer, the Contractor
  shall immediately proceed with the following obligations, regardless of any delay in determining or adjusting
  any amounts due under this clause:

  (1) Stop work as specified in the notice.

  (2) Place no further subcontracts or orders (referred to as subcontracts in this clause) for materials, services, or
  facilities, except as necessary to complete the continued portion of the contract.

  (3) Terminate all subcontracts to the extent they relate to the work terminated.

  (4) Assign to the Government, as directed by the Contracting Officer, all right, title, and interest of the
  Contractor under the subcontracts terminated, in which case the Government shall have the right to settle or to
  pay any termination settlement proposal arising out of those terminations.

  (5) With approval or ratification to the extent required by the Contracting Officer, settle all outstanding liabilities
  and termination settlement proposals arising from the termination of subcontracts; the approval or ratification
  will be final for purposes of this clause.

  (6) As directed by the Contracting Officer, transfer title and deliver to the Government-

  (i) The fabricated or unfabricated parts, work in process, completed work, supplies, and other material produced
  or acquired for the work terminated; and

  (ii) The completed or partially completed plans, drawings, information, and other property that, if the contract
  had been completed, would be required to be furnished to the Government.

  (7) Complete performance of the work not terminated.

  (8) Take any action that may be necessary, or that the Contracting Officer may direct, for the protection and
  preservation of the property related to this contract that is in the possession of the Contractor and in which the
  Government has or may acquire an interest.

  (9) Use its best efforts to sell, as directed or authorized by the Contracting Officer, any property of the types
  referred to in paragraph (b)(6) of this clause; provided, however, that the Contractor (i)is not required to extend
  credit to any purchaser and (ii) may acquire the property under the conditions prescribed by, and at prices
  approved by, the Contracting Officer. The proceeds of any transfer or disposition will be applied to reduce any
  payments to be made by the Government under this contract, credited to the price or cost of the work, or paid in
  any other manner directed by the Contracting Officer.

  (c) The Contractor shall submit complete termination inventory schedules no later than 120 days from the
  effective date of termination, unless extended in writing by the Contracting Officer upon written request of the
  Contractor within this 120-day period.
           Admin. Rec.195
https://www.acquisition.gov/node/32459/printable/print                                                                   1/5
               Case 1:25-cv-00298-RDM
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                                           52.249-2 Termination for65-4      Filed
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                                                                                       Government (Fixed-Price).

  (d) After expiration of the plant clearance period as defined in Subpart 49.001 of the Federal Acquisition
  Regulation, the Contractor may submit to the Contracting Officer a list, certified as to quantity and quality, of
  termination inventory not previously disposed of, excluding items authorized for disposition by the Contracting
  Officer. The Contractor may request the Government to remove those items or enter into an agreement for their
  storage. Within 15 days, the Government will accept title to those items and remove them or enter into a storage
  agreement. The Contracting Officer may verify the list upon removal of the items, or if stored, within 45 days
  from submission of the list, and shall correct the list, as necessary, before final settlement.

  (e) After termination, the Contractor shall submit a final termination settlement proposal to the Contracting
  Officer in the form and with the certification prescribed by the Contracting Officer. The Contractor shall submit
  the proposal promptly, but no later than 1 year from the effective date of termination, unless extended in writing
  by the Contracting Officer upon written request of the Contractor within this 1-year period. However, if the
  Contracting Officer determines that the facts justify it, a termination settlement proposal may be received and
  acted on after 1 year or any extension. If the Contractor fails to submit the proposal within the time allowed, the
  Contracting Officer may determine, on the basis of information available, the amount, if any, due the Contractor
  because of the termination and shall pay the amount determined.

  (f) Subject to paragraph (e) of this clause, the Contractor and the Contracting Officer may agree upon the whole
  or any part of the amount to be paid or remaining to be paid because of the termination. The amount may include
  a reasonable allowance for profit on work done. However, the agreed amount, whether under this paragraph (f)
  or paragraph (g) of this clause, exclusive of costs shown in paragraph (g)(3) of this clause, may not exceed the
  total contract price as reduced by (1) the amount of payments previously made and (2) the contract price of work
  not terminated. The contract shall be modified, and the Contractor paid the agreed amount. Paragraph (g) of this
  clause shall not limit, restrict, or affect the amount that may be agreed upon to be paid under this paragraph.

  (g) If the Contractor and the Contracting Officer fail to agree on the whole amount to be paid because of the
  termination of work, the Contracting Officer shall pay the Contractor the amounts determined by the
  Contracting Officer as follows, but without duplication of any amounts agreed on under paragraph (f) of this
  clause:

  (1) The contract price for completed supplies or services accepted by the Government (or sold or acquired under
  paragraph (b)(9) of this clause) not previously paid for, adjusted for any saving of freight and other charges.

  (2) The total of-

  (i) The costs incurred in the performance of the work terminated, including initial costs and preparatory expense
  allocable thereto, but excluding any costs attributable to supplies or services paid or to be paid under paragraph
  (g)(1) of this clause;

  (ii) The cost of settling and paying termination settlement proposals under terminated subcontracts that are
  properly chargeable to the terminated portion of the contract if not included in subdivision (g)(2)(i) of this
  clause; and

  (iii) A sum, as profit on subdivision (g)(2)(i) of this clause, determined by the Contracting Officer under 49.202
  of the Federal Acquisition Regulation, in effect on the date of this contract, to be fair and reasonable; however, if
  it appears that the Contractor would have sustained a loss on the entire contract had it been completed, the
  Contracting Officer shall allow no profit under this subdivision (g)(2)(iii) and shall reduce the settlement to
  reflect the indicated rate of loss.

  (3) The reasonable costs of settlement of the work terminated, including-

  (i) Accounting, legal, clerical, and other expenses reasonably necessary for the preparation of termination
  settlement proposals and supporting data;

  (ii) The termination and settlement of subcontracts (excluding the amounts of such settlements); and
          Admin. Rec.196
https://www.acquisition.gov/node/32459/printable/print                                                                    2/5
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                                                                                        Government (Fixed-Price).

  (iii) Storage, transportation, and other costs incurred, reasonably necessary for the preservation, protection, or
  disposition of the termination inventory.

  (h) Except for normal spoilage, and except to the extent that the Government expressly assumed the risk of loss,
  the Contracting Officer shall exclude from the amounts payable to the Contractor under paragraph (g) of this
  clause, the fair value as determined by the Contracting Officer, for the loss of the Government property.

  (i) The cost principles and procedures of part 31 of the Federal Acquisition Regulation, in effect on the date of
  this contract, shall govern all costs claimed, agreed to, or determined under this clause.

  (j) The Contractor shall have the right of appeal, under the Disputes clause, from any determination made by the
  Contracting Officer under paragraph (e), (g), or (l) of this clause, except that if the Contractor failed to submit
  the termination settlement proposal or request for equitable adjustment within the time provided in paragraph (e)
  or (l), respectively, and failed to request a time extension, there is no right of appeal.

  (k) In arriving at the amount due the Contractor under this clause, there shall be deducted-

  (1) All unliquidated advance or other payments to the Contractor under the terminated portion of this contract;

  (2) Any claim which the Government has against the Contractor under this contract; and

  (3) The agreed price for, or the proceeds of sale of, materials, supplies, or other things acquired by the Contractor
  or sold under the provisions of this clause and not recovered by or credited to the Government.

  (l) If the termination is partial, the Contractor may file a proposal with the Contracting Officer for an equitable
  adjustment of the price(s) of the continued portion of the contract. The Contracting Officer shall make any
  equitable adjustment agreed upon. Any proposal by the Contractor for an equitable adjustment under this clause
  shall be requested within 90 days from the effective date of termination unless extended in writing by the
  Contracting Officer.

  (m)

  (1) The Government may, under the terms and conditions it prescribes, make partial payments and payments
  against costs incurred by the Contractor for the terminated portion of the contract, if the Contracting Officer
  believes the total of these payments will not exceed the amount to which the Contractor will be entitled.

  (2) If the total payments exceed the amount finally determined to be due, the Contractor shall repay the excess to
  the Government upon demand, together with interest computed at the rate established by the Secretary of the
  Treasury under 50 U.S.C. App.1215(b)(2). Interest shall be computed for the period from the date the excess
  payment is received by the Contractor to the date the excess is repaid. Interest shall not be charged on any excess
  payment due to a reduction in the Contractor’s termination settlement proposal because of retention or other
  disposition of termination inventory until 10 days after the date of the retention or disposition, or a later date
  determined by the Contracting Officer because of the circumstances.

  (n) Unless otherwise provided in this contract or by statute, the Contractor shall maintain all records and
  documents relating to the terminated portion of this contract for 3 years after final settlement. This includes all
  books and other evidence bearing on the Contractor’s costs and expenses under this contract. The Contractor
  shall make these records and documents available to the Government, at the Contractor’s office, at all reasonable
  times, without any direct charge. If approved by the Contracting Officer, photographs, microphotographs, or
  other authentic reproductions may be maintained instead of original records and documents.

  (End of clause)

  Alternate I (Sept 1996). If the contract is for construction, substitute the following paragraph (g) for paragraph
  (g) of the basic clause:
             Admin. Rec.197
https://www.acquisition.gov/node/32459/printable/print                                                                  3/5
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                                                                                     Government (Fixed-Price).

  (g) If the Contractor and Contracting Officer fail to agree on the whole amount to be paid the Contractor because
  of the termination of work, the Contracting Officer shall pay the Contractor the amounts determined as follows,
  but without duplication of any amounts agreed upon under paragraph (f) of this clause:

  (1) For contract work performed before the effective date of termination, the total (without duplication of any
  items) of-

  (i) The cost of this work;

  (ii) The cost of settling and paying termination settlement proposals under terminated subcontracts that are
  properly chargeable to the terminated portion of the contract if not included in subdivision (g)(1)(i) of this
  clause; and

  (iii) A sum, as profit on subdivision (g)(1)(i) of this clause, determined by the Contracting Officer under 49.202
  of the Federal Acquisition Regulation, in effect on the date of this contract, to be fair and reasonable; however, if
  it appears that the Contractor would have sustained a loss on the entire contract had it been completed, the
  Contracting Officer shall allow no profit under this subdivision (g)(1)(iii) and shall reduce the settlement to
  reflect the indicated rate of loss.

  (2) The reasonable costs of settlement of the work terminated, including-

  (i) Accounting, legal, clerical, and other expenses reasonably necessary for the preparation of termination
  settlement proposals and supporting data;

  (ii) The termination and settlement of subcontracts (excluding the amounts of such settlements); and

  (iii) Storage, transportation, and other costs incurred, reasonably necessary for the preservation, protection, or
  disposition of the termination inventory.

  Alternate II (Sept 1996). If the contract is with an agency of the U.S. Government or with State, local, or foreign
  governments or their agencies, and if the Contracting Officer determines that the requirement to pay interest on
  excess partial payments is inappropriate, delete paragraph (m)(2) of the basic clause.

  Alternate III (Sept 1996). If the contract is for construction and with an agency of the U.S. Government or with
  State, local, or foreign governments or their agencies, substitute the following paragraph (g) for paragraph (g) of
  the basic clause. Paragraph (m)(2) may be deleted from the basic clause if the Contracting Officer determines
  that the requirement to pay interest on excess partial payments is inappropriate.

  (g) If the Contractor and Contracting Officer fail to agree on the whole amount to be paid the Contractor because
  of the termination of work, the Contracting Officer shall pay the Contractor the amounts determined as follows,
  but without duplication of any amounts agreed upon under paragraph (f) of this clause:

  (1) For contract work performed before the effective date of termination, the total (without duplication of any
  items) of-

  (i) The cost of this work;

  (ii) The cost of settling and paying termination settlement proposals under terminated subcontracts that are
  properly chargeable to the terminated portion of the contract if not included in subdivision (g)(1)(i) of this
  clause; and

  (iii) A sum, as profit on subdivision (g)(1)(i) of this clause, determined by the Contracting Officer under 49.202
  of the Federal Acquisition Regulation, in effect on the date of this contract, to be fair and reasonable; however, if
  it appears that the Contractor would have sustained a loss on the entire contract had it been completed, the
  Contracting Officer shall allow no profit under this subdivision(iii) and shall reduce the settlement to reflect the
  indicated rate of loss.
           Admin. Rec.198
https://www.acquisition.gov/node/32459/printable/print                                                                    4/5
              Case 1:25-cv-00298-RDM
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                                                                                      Government (Fixed-Price).

  (2) The reasonable costs of settlement of the work terminated, including-

  (i) Accounting, legal, clerical, and other expenses reasonably necessary for the preparation of termination
  settlement proposals and supporting data;

  (ii) The termination and settlement of subcontracts (excluding the amounts of such settlements); and

  (iii) Storage, transportation, and other costs incurred, reasonably necessary for the preservation, protection, or
  disposition of the termination inventory.
  Parent topic: 52.249 [Reserved]




             Admin. Rec.199
https://www.acquisition.gov/node/32459/printable/print                                                                 5/5
4/24/25, 6:53 PM    Case 1:25-cv-00298-RDM               Document     65-4 (Cost-Reimbursement).
                                                            52.249-6 Termination Filed 04/24/25 Page 83 of 88

  52.249-6 Termination (Cost-Reimbursement).

  As prescribed in 49.503(a)(1), insert the following clause:

  Termination (Cost-Reimbursement) (May 2004)

  (a) The Government may terminate performance of work under this contract in whole or, from time to time, in
  part, if-

  (1) The Contracting Officer determines that a termination is in the Government’s interest; or

  (2) The Contractor defaults in performing this contract and fails to cure the default within 10 days (unless
  extended by the Contracting Officer) after receiving a notice specifying the default. "Default" includes failure to
  make progress in the work so as to endanger performance.

  (b) The Contracting Officer shall terminate by delivering to the Contractor a Notice of Termination specifying
  whether termination is for default of the Contractor or for convenience of the Government, the extent of
  termination, and the effective date. If, after termination for default, it is determined that the Contractor was not
  in default or that the Contractor’s failure to perform or to make progress in performance is due to causes beyond
  the control and without the fault or negligence of the Contractor as set forth in the Excusable Delays clause, the
  rights and obligations of the parties will be the same as if the termination was for the convenience of the
  Government.

  (c) After receipt of a Notice of Termination, and except as directed by the Contracting Officer, the Contractor
  shall immediately proceed with the following obligations, regardless of any delay in determining or adjusting
  any amounts due under this clause:

  (1) Stop work as specified in the notice.

  (2) Place no further subcontracts or orders (referred to as subcontracts in this clause), except as necessary to
  complete the continued portion of the contract.

  (3) Terminate all subcontracts to the extent they relate to the work terminated.

  (4) Assign to the Government, as directed by the Contracting Officer, all right, title, and interest of the
  Contractor under the subcontracts terminated, in which case the Government shall have the right to settle or to
  pay any termination settlement proposal arising out of those terminations.

  (5) With approval or ratification to the extent required by the Contracting Officer, settle all outstanding liabilities
  and termination settlement proposals arising from the termination of subcontracts, the cost of which would be
  reimbursable in whole or in part, under this contract; approval or ratification will be final for purposes of this
  clause.

  (6) Transfer title (if not already transferred) and, as directed by the Contracting Officer, deliver to the
  Government-

  (i) The fabricated or unfabricated parts, work in process, completed work, supplies, and other material produced
  or acquired for the work terminated;

  (ii) The completed or partially completed plans, drawings, information, and other property that, if the contract
  had been completed, would be required to be furnished to the Government; and

  (iii) The jigs, dies, fixtures, and other special tools and tooling acquired or manufactured for this contract, the
  cost of which the Contractor has been or will be reimbursed under this contract.
           Admin. Rec.200
https://www.acquisition.gov/node/32463/printable/print                                                                   1/6
             Case 1:25-cv-00298-RDM Document
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  (7) Complete performance of the work not terminated.

  (8) Take any action that may be necessary, or that the Contracting Officer may direct, for the protection and
  preservation of the property related to this contract that is in the possession of the Contractor and in which the
  Government has or may acquire an interest.

  (9) Use its best efforts to sell, as directed or authorized by the Contracting Officer, any property of the types
  referred to in paragraph (c)(6) of this clause; provided, however, that the Contractor (i)is not required to extend
  credit to any purchaser and (ii) may acquire the property under the conditions prescribed by, and at prices
  approved by, the Contracting Officer. The proceeds of any transfer or disposition will be applied to reduce any
  payments to be made by the Government under this contract, credited to the price or cost of the work, or paid in
  any other manner directed by the Contracting Officer.

  (d) The Contractor shall submit complete termination inventory schedules no later than 120 days from the
  effective date of termination, unless extended in writing by the Contracting Officer upon written request of the
  Contractor within this 120-day period.

  (e) After expiration of the plant clearance period as defined in Subpart 49.001 of the Federal Acquisition
  Regulation, the Contractor may submit to the Contracting Officer a list, certified as to quantity and quality, of
  termination inventory not previously disposed of, excluding items authorized for disposition by the Contracting
  Officer. The Contractor may request the Government to remove those items or enter into an agreement for their
  storage. Within 15 days, the Government will accept the items and remove them or enter into a storage
  agreement. The Contracting Officer may verify the list upon removal of the items, or if stored, within 45 days
  from submission of the list, and shall correct the list, as necessary, before final settlement.

  (f) After termination, the Contractor shall submit a final termination settlement proposal to the Contracting
  Officer in the form and with the certification prescribed by the Contracting Officer. The Contractor shall submit
  the proposal promptly, but no later than 1 year from the effective date of termination, unless extended in writing
  by the Contracting Officer upon written request of the Contractor within this 1-year period. However, if the
  Contracting Officer determines that the facts justify it, a termination settlement proposal may be received and
  acted on after 1 year or any extension. If the Contractor fails to submit the proposal within the time allowed, the
  Contracting Officer may determine, on the basis of information available, the amount, if any, due the Contractor
  because of the termination and shall pay the amount determined.

  (g) Subject to paragraph (f) of this clause, the Contractor and the Contracting Officer may agree on the whole or
  any part of the amount to be paid (including an allowance for fee) because of the termination. The contract shall
  be amended, and the Contractor paid the agreed amount.

  (h) If the Contractor and the Contracting Officer fail to agree in whole or in part on the amount of costs and/or
  fee to be paid because of the termination of work, the Contracting Officer shall determine, on the basis of
  information available, the amount, if any, due the Contractor, and shall pay that amount, which shall include the
  following:

  (1) All costs reimbursable under this contract, not previously paid, for the performance of this contract before the
  effective date of the termination, and those costs that may continue for a reasonable time with the approval of or
  as directed by the Contracting Officer; however, the Contractor shall discontinue those costs as rapidly as
  practicable.

  (2) The cost of settling and paying termination settlement proposals under terminated subcontracts that are
  properly chargeable to the terminated portion of the contract if not included in paragraph (h)(1) of this clause.

  (3) The reasonable costs of settlement of the work terminated, including-

  (i) Accounting, legal, clerical, and other expenses reasonably necessary for the preparation of termination
  settlement proposals and supporting data;
          Admin. Rec.201
https://www.acquisition.gov/node/32463/printable/print                                                                  2/6
               Case 1:25-cv-00298-RDM Document
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  (ii) The termination and settlement of subcontracts (excluding the amounts of such settlements); and

  (iii) Storage, transportation, and other costs incurred, reasonably necessary for the preservation, protection, or
  disposition of the termination inventory. If the termination is for default, no amounts for the preparation of the
  Contractor’s termination settlement proposal may be included.

  (4) A portion of the fee payable under the contract, determined as follows:

  (i) If the contract is terminated for the convenience of the Government, the settlement shall include a percentage
  of the fee equal to the percentage of completion of work contemplated under the contract, but excluding
  subcontract effort included in subcontractors’ termination proposals, less previous payments for fee.

  (ii) If the contract is terminated for default, the total fee payable shall be such proportionate part of the fee as the
  total number of articles (or amount of services) delivered to and accepted by the Government is to the total
  number of articles (or amount of services) of a like kind required by the contract.

  (5) If the settlement includes only fee, it will be determined under paragraph (h)(4) of this clause.

  (i) The cost principles and procedures in part 31 of the Federal Acquisition Regulation, in effect on the date of
  this contract, shall govern all costs claimed, agreed to, or determined under this clause.

  (j) The Contractor shall have the right of appeal, under the Disputes clause, from any determination made by the
  Contracting Officer under paragraph (f), (h), or (l) of this clause, except that if the Contractor failed to submit
  the termination settlement proposal within the time provided in paragraph (f) and failed to request a time
  extension, there is no right of appeal. If the Contracting Officer has made a determination of the amount due
  under paragraph (f), (h) or (l) of this clause, the Government shall pay the Contractor-

  (1) The amount determined by the Contracting Officer if there is no right of appeal or if no timely appeal has
  been taken; or

  (2) The amount finally determined on an appeal.

  (k) In arriving at the amount due the Contractor under this clause, there shall be deducted-

  (1) All unliquidated advance or other payments to the Contractor, under the terminated portion of this contract;

  (2) Any claim which the Government has against the Contractor under this contract; and

  (3) The agreed price for, or the proceeds of sale of materials, supplies, or other things acquired by the Contractor
  or sold under this clause and not recovered by or credited to the Government.

  (l) The Contractor and Contracting Officer must agree to any equitable adjustment in fee for the continued
  portion of the contract when there is a partial termination. The Contracting Officer shall amend the contract to
  reflect the agreement.

  (m)

  (1) The Government may, under the terms and conditions it prescribes, make partial payments and payments
  against costs incurred by the Contractor for the terminated portion of the contract, if the Contracting Officer
  believes the total of these payments will not exceed the amount to which the Contractor will be entitled.

  (2) If the total payments exceed the amount finally determined to be due, the Contractor shall repay the excess to
  the Government upon demand, together with interest computed at the rate established by the Secretary of the
  Treasury under 50 U.S.C. App.1215(b)(2). Interest shall be computed for the period from the date the excess
  payment is received by the Contractor to the date the excess is repaid. Interest shall not be charged on any excess
  payment due to a reduction in the Contractor’s termination settlement proposal because of retention or other
           Admin. Rec.202
https://www.acquisition.gov/node/32463/printable/print                                                                       3/6
               Case 1:25-cv-00298-RDM Document
4/24/25, 6:53 PM                                              65-4 (Cost-Reimbursement).
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  disposition of termination inventory until 10 days after the date of the retention or disposition, or a later date
  determined by the Contracting Officer because of the circumstances.

  (n) The provisions of this clause relating to fee are inapplicable if this contract does not include a fee.

  (End of clause)

  Alternate I (Sept1996). If the contract is for construction, substitute the following paragraph (h)(4) for paragraph
  (h)(4) of the basic clause:

  (4) A portion of the fee payable under the contract determined as follows:

  (i) If the contract is terminated for the convenience of the Government, the settlement shall include a percentage
  of the fee equal to the percentage of completion of work contemplated under the contract, but excluding
  subcontract effort included in subcontractors’ termination settlement proposals, less previous payments for fee.

  (ii) If the contract is terminated for default, the total fee payable shall be such proportionate part of the fee as the
  actual work in place is to the total work in place required by the contract.

  Alternate II (Sept1996). If the contract is with an agency of the U.S. Government or with State, local, or foreign
  governments or their agencies, and if the contracting officer determines that the requirement to pay interest on
  excess partial payments is inappropriate, delete paragraph (m)(2) from the basic clause.

  Alternate III (Sept1996). If the contract is for construction with an agency of the U.S. Government or with State,
  local, or foreign governments or their agencies, the following paragraph (h)(4) shall be substituted for paragraph
  (h)(4) of the basic clause. Paragraph (m)(2) may be deleted from the basic clause if the contracting officer
  determines that the requirement to pay interest on excess partial payments is inappropriate.

  (4) A portion of the fee payable under the contract determined as follows:

  (i) If the contract is terminated for the convenience of the Government, the settlement shall include a percentage
  of the fee equal to the percentage of completion of work contemplated under the contract, but excluding
  subcontract effort included in subcontractors’ termination settlement proposals, less previous payments for fee.

  (ii) If the contract is terminated for default, the total fee payable shall be such proportionate part of the fee as the
  actual work in place is to the total work in place required by the contract.

  Alternate IV (Sept1996). If the contract is a time-and-material or labor-hour contract, substitute the following
  paragraphs (h) and (l) for paragraphs (h) and (l) of the basic clause:

  (h) If the Contractor and the Contracting Officer fail to agree in whole or in part on the amount to be paid
  because of the termination of work, the Contracting Officer shall determine, on the basis of information
  available, the amount, if any, due the Contractor and shall pay the amount determined as follows:

  (1) If the termination is for the convenience of the Government, include-

  (i) An amount for direct labor hours (as defined in the Schedule of the contract) determined by multiplying the
  number of direct labor hours expended before the effective date of termination by the hourly rate(s) in the
  Schedule, less any hourly rate payments already made to the Contractor;

  (ii) An amount (computed under the provisions for payment of materials) for material expenses incurred before
  the effective date of termination, not previously paid to the Contractor;

  (iii) An amount for labor and material expenses computed as if the expenses were incurred before the effective
  date of termination, if they are reasonably incurred after the effective date, with the approval of or as directed by
  the Contracting Officer; however, the Contractor shall discontinue these expenses as rapidly as practicable;
           Admin. Rec.203
https://www.acquisition.gov/node/32463/printable/print                                                                       4/6
4/24/25, 6:53 PMCase 1:25-cv-00298-RDM Document                   65-4 (Cost-Reimbursement).
                                                        52.249-6 Termination Filed 04/24/25 Page 87 of 88
  (iv) If not included in subdivision (h)(1)(i), (ii), or (iii) of this clause, the cost of settling and paying termination
  settlement proposals under terminated subcontracts that are properly chargeable to the terminated portion of the
  contract; and

  (v) The reasonable costs of settlement of the work terminated, including-

  (A) Accounting, legal, clerical, and other expenses reasonably necessary for the preparation of termination
  settlement proposals and supporting data;

  (B) The termination and settlement of subcontracts (excluding the amounts of such settlements); and

  (C) Storage, transportation, and other costs incurred, reasonably necessary for the protection or disposition of the
  termination inventory.

  (2) If the termination is for default of the Contractor, include the amounts computed under paragraph (h)(1) of
  this clause but omit-

  (i) Any amount for preparation of the Contractor’s termination settlement proposal; and

  (ii) The portion of the hourly rate allocable to profit for any direct labor hours expended in furnishing materials
  and services not delivered to and accepted by the Government.

  (l) If the termination is partial, the Contractor may file with the Contracting Officer a proposal for an equitable
  adjustment of price(s) for the continued portion of the contract. The Contracting Officer shall make any
  equitable adjustment agreed upon. Any proposal by the Contractor for an equitable adjustment under this clause
  shall be requested within 90 days from the effective date of termination, unless extended in writing by the
  Contracting Officer.

  Alternate V (Sept1996). If the contract is a time-and-material or labor-hour contract with an agency of the U.S.
  Government or with State, local or foreign governments or their agencies, substitute the following paragraphs (h)
  and (l) for paragraphs (h) and (l) of the basic clause. Paragraph (m)(2) may be deleted from the basic clause if
  the contracting officer determines that the requirement to pay interest on excess partial payments is
  inappropriate.

  (h) If the Contractor and the Contracting Officer fail to agree in whole or in part on the amount to be paid
  because of the termination of work, the Contracting Officer shall determine, on the basis of information
  available, the amount, if any, due the Contractor and shall pay the amount determined as follows:

  (1) If the termination is for the convenience of the Government, include-

  (i) An amount for direct labor hours (as defined in the Schedule of the contract) determined by multiplying the
  number of direct labor hours expended before the effective date of termination by the hourly rate(s) in the
  Schedule, less any hourly rate payments already made to the contractor;

  (ii) An amount (computed under the provisions for payment of materials) for material expenses incurred before
  the effective date of termination, not previously paid to the Contractor;

  (iii) An amount for labor and material expenses computed as if the expenses were incurred before the effective
  date of termination if they are reasonably incurred after the effective date, with the approval of or as directed by
  the Contracting Officer; however, the Contractor shall discontinue these expenses as rapidly as practicable;

  (iv) If not included in subdivision (h)(1)(i), (ii), or (iii) of this clause, the cost of settling and paying termination
  settlement proposals under terminated subcontracts that are properly chargeable to the terminated portion of the
  contract; and

  (v) The reasonable costs of settlement of the work terminated, including-
          Admin. Rec.204
https://www.acquisition.gov/node/32463/printable/print                                                                        5/6
               Case 1:25-cv-00298-RDM Document
4/24/25, 6:53 PM                                              65-4 (Cost-Reimbursement).
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  (A) Accounting, legal, clerical, and other expenses reasonably necessary for the preparation of termination
  settlement proposals and supporting data;

  (B) The termination and settlement of subcontracts (excluding the amounts of such settlements); and

  (C) Storage, transportation, and other costs incurred, reasonably necessary for the protection or disposition of the
  termination inventory.

  (2) If the termination is for default of the Contractor, include the amounts computed under paragraph (h)(1) of
  this clause but omit-

  (i) Any amount for preparation of the Contractor’s termination settlement proposal; and

  (ii) The portion of the hourly rate allocable to profit for any direct labor hours expended in furnishing materials
  and services not delivered to and accepted by the Government.

  (l) If the termination is partial, the Contractor may file with the Contracting Officer a proposal for an equitable
  adjustment of the price(s) for the continued portion of the contract. The Contracting Officer shall make any
  equitable adjustment agreed upon. Any proposal by the Contractor for an equitable adjustment under this clause
  shall be requested within 90 days from the effective date of termination, unless extended in writing by the
  Contracting Officer.
  Parent topic: 52.249 [Reserved]




             Admin. Rec.205
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